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                                         IN THE UNITED STATES DISTRICT COURT
                                          DISTRICT OF UTAH CENTRAL DIVISION

BRIGHAM YOUNG UNIVERSITY, a Utah
Non-Profit Education Institution; and Dr.
DANIEL L. SIMMONS, an individual,                                      Case Number: 2:06CV-890-BTS (BCW)

                                                  Plaintiffs,
                         vs.                                           RESPONSE IN OPPOSITION TO
                                                                    DEFENDANTS’ MOTION FOR PARTIAL
PFIZER, INC., a Delaware corporation; G.D.                              SUMMARY JUDGMENT ON
SEARLE & COMPANY, a Delaware                                            PLAINTIFFS’ CLAIM THAT
corporation; G.D. SEARLE LLC, a Delaware                                   DEFENDANTS HAVE
limited liability company; MONSANTO                                 MISAPPROPRIATED “PROJECT” AND
COMPANY, a Delaware corporation; and                                 “COMPILATION” TRADE SECRETS
PHARMACIA CORPORATION, a Delaware
corporation,                                                             (RESPONSE TO DEFENDANTS’
                                                                               MOTION NO. 6)
                                                  Defendants.




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                                                                    INTRODUCTION

            It is well-established, and Pfizer admits, that a “compilation of information” may

constitute a trade secret, even when the compilation is only a “combination of generally known

elements or steps” that are combined in a unique way—a combination Utah’s Supreme Court has

referred to as a “vision.”1 And determining whether such a compilation constitutes a trade secret

“is an intensely factual inquiry,” that requires a “trade secret analysis of the ‘vision’ as a

whole.”2 If a jury finds that a particular combination of information and materials that a plaintiff

provided a defendant was a “unique combination” of elements that “represent[ed] a valuable

contribution attributable to the independent efforts” of the plaintiff, then it can qualify as a valid

trade secret.3

            BYU has provided a detailed trade secret disclosure listing seventy trade secrets, and has

also asserted that some or all of those individual trade secrets collectively constitute

“compilation” trade secrets. BYU provided detailed descriptions of such in response to Pfizer

Interrogatory No. Eight,4 in the Supplemental Expert Report of BYU expert Mr. Fellmeth,5 and

in the list prepared by Mr. Ricker, BYU’s 30(b)(6) witness on trade secrets.6

            In its present motion, Pfizer doesn’t challenge any of these individual trade secrets,

saying it will address those “elsewhere or at trial.” Pfizer Mem. at ii. Rather, Pfizer simply seeks

summary judgment on what it calls BYU’s “project” and “compilation” trade secret claims,

arguing that these “are not identified with the specificity required to warrant protection” under




1
   USA Power, LLC v. PacifiCorp, 235 P.2d 749, ¶¶ 43, 45 (Utah 2010) (reversing summary
judgment when the trial court found that plaintiffs’ “vision” did not constitute a trade secret).
2
  Id., at ¶ 45, 46.
3
  USA Power, 235 P.2d at 759, ¶ 43.
4
  Pls. Amd. 2nd Supp.. Resp. to Defs. Interr. No. 8, 10 Dec 08, Ex. 57.
5
  Supp. Expert Report of A. Fellmeth, 10 Jun 11, at 2-4, Ex. 26.


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the Uniform Trade Secrets Act (the “UTSA”). Pfizer Mem. at ii.7 Logically, though, since Pfizer

doesn’t contest the particularity of the individual trade secrets, its challenge to a combination of

trade secrets comprised of some of the individual secrets necessarily falls flat.

            BYU has identified with great particularity the core set or body of information and

biological materials it provided Monsanto. Indeed, none of the cases on which Pfizer relies

involved—as this case does—a long list of individual trade secrets that the moving party did not

contest. Thus Pfizer’s “insufficient particularity” cases are easily distinguishable.

            Moreover, while BYU does claim a compilation trade secret it refers to as the “project,”

and also claims that some unique combinations of its individual trade secrets may have

independent economic value, BYU does not claim just a single, “compilation trade secret.” Thus,

to the extent Pfizer’s motion contends that BYU’s “compilation trade secret” has not been

identified with specificity, that’s because BYU doesn’t allege such a trade secret, at least not as

Pfizer tries to define it.

            The basic outline of BYU’s “project” trade secret—and its importance—can be

succinctly summarized:

            At a time when the pharmaceutical industry generally believed there was only a single

COX gene, and that it was not possible to make a drug that would only inhibit the inducible

aspects of COX, Dr. Simmons discovered definitive evidence that there were really at least two

COX genes, he developed a vision and plan to “rationally design drugs that selectively inhibit



6
  K. Ricker, “Substance and Identity of BYU’s Trade Secrets,” marked as Ex. 1073 to Mr.
Ricker’s 2 Jun 11 deposition, Ex. 190.
7
  Although Pfizer calls this a motion for summary judgment on Count VIII of BYU’s First
Amended Complaint (the “FAC”), Count VIII deals with the misappropriation of all of BYU’s
trade secrets, not just the “project” and “compilation” claims. Since Pfizer explicitly states it
“will address elsewhere or at trial the numerous individual alleged trade secrets,” Count VIII of
the FAC will remain, regardless of the outcome of this motion.


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one or the other and thus reduce unwanted side effects,” and he developed a body of scientific

data and biological tools to carry out that plan, a body that no one else in the world had at that

time. Those tools included biological reagents, such as COX-1 and COX-2 cDNAs and

antibodies, as well as a system for using these tools to test, or “assay,” compounds for their

COX-2 selectivity. By following this plan and using Dr. Simmons’s collective body of

information and reagents, Monsanto in early 1992 became the first pharmaceutical company in

the world to develop assays that could successfully test for COX-2 selectivity. Merck—the next

pharmaceutical company to develop such assays, and therefore Monsanto’s closest competitor—

did not have access to BYU’s trade secrets and therefore its management did not understand the

importance and did not even begin its COX-2 program until June of 1992. By that time,

Monsanto had an unbeatable head start, and Monsanto won the race to market a COX-2 selective

drug.

            As Pfizer’s own expert, Dr. Joseph Mancini agreed, “before senior management of a

company is going to devote resources to a project, they need to have a body of information

that’s sufficiently convincing to them that they should shift those resources to that project,” and

is just that “body of information” that Dr. Simmons provided Monsanto, and that body of

information constitutes a trade secret.8

            However, contrary to Pfizer’s unsupported suggestions, neither the UTSA nor the case

law interpreting it bar a jury from finding a compilation trade secret that differs from the

compilation argued by the plaintiffs. Here, for example, regardless of the breadth of BYU’s

claimed “project” trade secret, a jury could find that some narrower, unique, combination of

individual elements qualified as a trade secret. On the facts here, for example, a jury could easily



8
    J. Mancini Dep., 7 Nov 11, 108:24-109:11, Ex. 32.


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find that Dr. Simmons’s pair of mouse COX-1 and COX-2 clones—which Monsanto witness Dr.

Seibert has admitted was the only such pair in the world—by itself constituted a valid

compilation trade secret. And whether a compilation trade secret exists, and its scope and form,

are quintessential issues of fact for a jury to determine.




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                    BYU’S RESPONSE TO DEFENDANTS’ STATEMENT OF FACTS

            Pfizer’s Statement of Facts:

            A.           The Research Agreement License.

            1.           BYU and Monsanto entered into a Research Agreement. [A true and correct copy

of the Research Agreement is attached as Exhibit 1 to the Declaration of Philipp J. Russell filed

in Support of Defendants’ Motion for Partial Summary Judgment (“Russell Decl.”), filed

concurrently herewith.] The Research Agreement states that it is “effective as of August 1,

1991.” [Id. at 1.]

            BYU RESPONSE:

            BYU admits this fact.

            2.           Paragraph 3.2 of the Research Agreement provides:

                         UNIVERSITY agrees to grant and hereby grants to MONSANTO
                         an irrevocable, worldwide, paid-up nonexclusive license, to make,
                         have made, use and sell all unpatented inventions developed in the
                         PROJECT.

[Id. at ¶ 3.2.]

            BYU RESPONSE:

            BYU admits this fact.

            3.           In a letter to Dr. Philip Needleman of Monsanto dated March 27, 1992, Carol R.

Hardman of BYU indicated that BYU was in agreement with Monsanto’s desire to terminate the

Research Agreement. [See Mar. 27, 1992 Letter from BYU (Carol Hardman) to Monsanto (Dr.

Needleman); Resp. to Defs.’ First Set of Reqs. for Admis. to Pl. Brigham Young Univ. at 7.]

            BYU RESPONSE:

            BYU admits this fact.




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            4.           In a letter to Dr. Needleman dated May 21, 1992, Ms. Hardman communicated

BYU’s assumption that the Research Agreement was terminated as of March 27, 1992. [See

May 21, 1992 Letter from BYU (Carol Hardman) to Monsanto (Dr. Needleman).]

            BYU RESPONSE:

            BYU admits this fact, but notes that Dr. Needleman never replied to confirm that

assumption.

            5.           Dr. Simmons sent a letter to Dr. Needleman on May 20, 1992. [May 20, 1992

Letter from BYU (Dr. Simmons) to Monsanto (Dr. Needleman).] Attached to the letter was a

document titled “Post-termination Report to Monsanto.” [Id. at BYU-20-1614.] The Post-

Termination Report states that it “describes the research done by the laboratory of Daniel L.

Simmons during the period 8/1/91-3/23/91,” and “is submitted within 80 days of notification of

termination.” [Id.]

            BYU RESPONSE:

            BYU admits this fact.

            B.           The Alleged “Project” and “Compilation” Trade Secrets

                         1.           The “Project”

            6.           In his Supplemental Expert Report, Mr. Fellmeth provided a list of 70 items and

opined that “plaintiffs transmitted the following information to Monsanto in the course of their

collaboration” and “[c]ollectively this information constitutes a trade secret.” [Fellmeth

Supplemental Report at ¶ 2.]

            BYU RESPONSE:

            BYU admits that Mr. Fellmeth’s report contains the quoted language.

            7.           Item 1 on Mr. Fellmeth’s list of 70 alleged trade secrets is:




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                         A research project and plan for the selection, testing, and
                         modifying of nonsteroidal anti-inflammatory drugs for COX-2
                         selectivity by establishing the existence of functionally separate
                         COX isozymes, ruling out steroids as treatment compounds,
                         developing polyclonal and ultimately monoclonal antibodies,
                         sequencing and cloning human COX-1 and COX-2 DNA, and
                         using cell-based and recombinant enzyme assays to test for
                         selective COX-2 inhibition (hereinafter “the Project”).

[Id.]

            BYU RESPONSE:

            BYU admits this fact.

            8.           At his deposition on September 13, 2011, Mr. Fellmeth admitted that part of

alleged trade secret Item 1 in Paragraph 2 of his supplemental expert report was developed

during the term of the Research Agreement:

                         Q.           Can you tell me when that item was communicated to
                                      Monsanto?

                         A.           It was communicated in pieces. Part of it was in the initial
                                      presentation a very small part of it initial presentation by
                                      Dr. Simmons to Monsanto when he visited the first time, a
                                      much larger part in Appendix A of the research agreement;
                                      and the rest developed through the course of their
                                      collaboration and discussions.

[Transcript of Deposition of Aaron Fellmeth (“Fellmeth Dep.”) at 88:2-9.]

            BYU RESPONSE:

            BYU admits that Pfizer accurately quoted the language from Mr. Fellmeth’s deposition

transcript, but that language does not address the “term of the Research Agreement.”

            9.           Keith Ricker was BYU’s corporate designee on the topic of BYU’s allegations

regarding trade secrets in Count VIII of the First Amended Complaint. [See Transcript of BYU

30(b)(6) Deposition (representative Keith Ricker) (“BYU 30(b)(6) Dep. (Ricker)”) at 7:2-9;

Notice of Taking Video Deposition of Brigham Young University Pursuant to Fed. R. Civ. P.




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30(b)(6) (“BYU Rule 30(b)(6) Deposition Notice”), Topic 20.] At that deposition, Mr. Ricker

testified on behalf of BYU that the alleged trade secret described in Item 1 of Paragraph 2 in Mr.

Fellmeth’s supplemental expert report was “not a static trade secret” and “continued to develop”

after the Research Agreement was signed:

                         Q.           So, Mr. Ricker, starting with Exhibit- the first page of
                                      Exhibit 1073, this is the list of trade secrets that you
                                      prepared. The first one identified is the research project and
                                      plan. Can you tell me when that trade secret was created?

                         A.           That was not a static trade secret. That was something
                                      that Dr. Simmons probably conceived of initially -- I
                                      shouldn’t say probably conceived of initially -- did
                                      conceive of initially in 1989 and continued to develop
                                      through enormous amounts of experimentation all the
                                      way leading up to the collaborative research review with
                                      Monsanto and continued to additional materials to
                                      throughout that collaboration. So think your question was
                                      when was it developed or something like that?

                         Q.           Yeah.

                         A.           Starting in October ‘89 and continuing for a long time.

                         Q.           Okay. And when was it first communicated to Monsanto?

                         A.           I would say the goal of it was communicated on April 5th.
                                      The substance of how you would go about doing it was
                                      communicated after the parties started collaborating. Some
                                      of the instances of the communication of it were appendix
                                      A and some of the other things I listed here in the bullet
                                      point.

                         Q.           Was this trade secret communicated to Monsanto before or
                                      after the research agreement was signed?

                         A.           Before or after -- both.

[BYU 30(b)(6) Dep. (Ricker) 15 at 37:2-38:6 (emphasis added).]




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            BYU RESPONSE:

            BYU admits that Pfizer has accurately quoted Mr. Ricker’s testimony as a BYU-

designated 30(b)(6) witness, and that he testified that some of the referenced trade secret was

communicated to Monsanto after the Research Agreement was signed.

            10.          Dr. Simmons also testified that he continued to develop the alleged trade secret

described in Item 1 of Paragraph 2 of Mr. Fellmeth’s supplemental expert report during the term

of the Research Agreement:

                         Q.           Okay. So, it is, therefore, fair to say, Dr. Simmons, that
                                      neither you nor BYU had possession of the entirety of
                                      Fellmeth alleged trade secret number one as of August of
                                      1991; correct?

                         A.           We had parts of this, and we developed it as we went
                                      through the terms of the project, and continued to convey
                                      all of this information to them under the umbrella of the
                                      collaboration and the research agreement.

[Transcript of October 7, 2011 Deposition of Daniel Simmons (“Oct. 7, 2011 Simmons Dep.”) at

227:21-228:4.]

            BYU RESPONSE:

            BYU admits that Pfizer has accurately cited the referenced deposition testimony.

            11.          The “project” described in Item 1 of Paragraph 2 of the Fellmeth Supplemental

Report has not been patented, nor has BYU contended that the entire project should have been

patented.

            BYU RESPONSE:

            BYU admits this fact.




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                         2.           The “Compilation”

            12.          Dr. Simmons testified that there is a “BYU compilation trade secret” that is

“defined as the sum of the technology, information, biological materials, assistance that I gave to

Monsanto.” [Oct. 7, 2011 Simmons Dep. at 160:10-14.]

            BYU RESPONSE:

            BYU admits that Dr. Simmons gave the quoted testimony, in which he was summarizing

            his layman’s view of a what a compilation trade secret is. BYU denies, however, that it is

            claiming one discrete trade secret known as its “compilation trade secret.”

            13.          Dr. Simmons could not identify a single document that sets out the “compilation

trade secret”:

                         Q.           BY MR. DOUGHERTY: Name one document, of all of
                                      those that you listed, that was sent to Monsanto that sets out
                                      the compilation trade secret.

                         THE WITNESS: As I said, it was the summation of our
                         interactions. So, one document, by definition, could not show that.

                         Q.           BY MR. DOUGHERTY: In fact, there is no document,
                                      until you were years into this litigation, that actually
                                      attempts to define a compilation trade secret; isn’t that
                                      right, Dr. Simmons?

                         A.           I don’t think that’s right. I am not sure we ever had any as I
                                      said, the compilation is our interaction. That is what the
                                      whole program, project, collaboration that we were going
                                      toward in developing a selective COX-2 NSAID.

[Id. at 184:15-185:4.]

            BYU RESPONSE:

            BYU admits that Pfizer accurately quoted the transcript of Dr. Simmons’s testimony.

            14.          Dr. Simmons admitted that he developed components of the “compilation trade

secret” after the Research Agreement began:




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                         QUESTION: So the compilation—the compilation trade secret,
                         components of it which you say you had in April of 1991, but other
                         components of it you had during the term of the research
                         agreement; correct?”

                         THE WITNESS: Other components I developed, my laboratory
                         developed during the terms of-- during the terms of the research
                         agreement; yes.

[Id. at 192:17-24.]

            BYU RESPONSE:

            BYU admits that Pfizer accurately quoted the deposition transcript, but denies it is

claiming one discrete “compilation trade secret.”

            15.          Dr. Simmons admitted that he delivered components of the “compilation trade

secret” to Monsanto after the Research Agreement had been terminated:

                         Q.           BY MR. DOUGHERTY: And what was the last piece
                                      necessary for that compilation to be complete?

                         A.           Well, as I said, the compilation is everything in the
                                      collaboration. And continued to provide them information
                                      prior to providing anyone else that information in July, and
                                      then my memory sparked that

                         Q.           I’m sorry, can you just say the year so we don’t have to
                                      come back?

                         A.           I’m sorry. July of 1992.

                         Q.           Um-hmm.

                         A.           And then my memory seemed to recall that there may have
                                      been another conveyance of information perhaps in the
                                      form of a report that occurred after that time.

[Id. at 192:25-193:14; see also Id. at 186:3-7, 186:21-187:4.]

            BYU RESPONSE:

            BYU admits that Pfizer accurately quoted the deposition transcript, but denies that it is

claiming one discrete “compilation trade secret.”



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            16.          The “compilation trade secret” has not been patented, nor has BYU contended

that it should have been patented. [See id. at 185:12-21.]

            BYU RESPONSE:

            This statement is based on the apparent misapprehension that BYU is claiming a separate

“compilation trade secret,” so it can’t be admitted or denied. BYU has, however, asserted that

certain combinations of materials and information, which could be collectively viewed as

compilation trade secrets, should have been patented. See First Amended Complaint ¶ 107.

                                                  BYU’S STATEMENT OF FACTS9

            A.           BYU Adequately Disclosed Its Compilation Trade Secret Claim In This
                         Litigation.

            1.           Count VIII of BYU’s First Amended Complaint asserts a cause of action for

violation of Utah’s Uniform Trade Secret Act, Utah Code Ann. § 13-24-2, et seq.

            2.           Pfizer’s Interrogatory No. 8 asked BYU to:

                         State fully and completely all factual and legal bases for your
                         allegation that Defendants violated the Uniform Trade Secret
                         Act…

            3.           In its verified response to Pfizer’s Interrogatory No. 8, BYU disclosed that the

“trade secrets conveyed to Monsanto” took two forms: “First, the entire Project constituted a

trade secret incorporating the confidential information BYU transmitted to Monsanto to support

the Project,” whose aim was “to develop nonsteroidal anti-inflammatory drugs (‘NSAIDs”) that

would selectively inhibit COX-2 (or COX-1).10

            4.           As BYU elaborated:




9
   All exhibits in support of this Opposition have been consolidated with Plaitniffs’ exhibits in
support of concurrently filed oppositions.
10
   Pls. Amd. 2nd Supp. Resp. to Defs. Interr. No. 8, 10 Dec 08, p. 3, Ex. 188.


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                         Monsanto could not have obtained the totality of BYU’s trade
                         secrets from any other source at the time it was provided.
                         Monsanto derived economic value from this collective body of
                         information because it was not available in a comprehensive form
                         from any other source—even if certain individual components may
                         have later become publicly available.11

            5.           Second, “the individual components of information and tools BYU provided to

Monsanto in support of and as part of the Project also constitute individual trade secrets that each

possessed independent economic value from not being publicly known at the time BYU provided

them to Monsanto.”12 At pages 31-72 of BYU’s response to Pfizer Interrogatory No. 8, BYU

also listed and described those individual trade secrets, including information about where those

trade secrets were memorialized in the documents.13

            6.           As the preface to that list states:

                         BYU provided Monsanto access to the totality of scientific data
                         and biological tools it had developed that would assist in the
                         discovery of a COX-2 selective NSAID. BYU provided no one
                         else with this collective body of scientific data and biological tools.
                         This collective body of scientific data and biological tools is, itself,
                         a trade secret.14

            7.           BYU expert Aaron Fellmeth also summarized 70 discrete trade secrets that BYU

communicated to Monsanto.15 In addition to the individual trade secrets, Mr. Fellmeth also

stated: “Collectively this information constitutes a trade secret.”16

            8.           The very first trade secret Mr. Fellmeth identified was:

                         A research project and plan for the selection, testing, and
                         modifying of nonsteroidal anti-inflammatory drugs for COX-2
                         selectivity by establishing the existence of functionally separate


11
   Id.
12
   Id. at p. 4.
13
   Id. at pp. 31-72.
14
   Id. at p. 31.
15
   A. Fellmeth Supp. Expert Rpt., 10 Jun 11, pp. 2-4, Ex. 206.
16
   Id. at 2.


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                         COX isozymes, ruling out steroids as treatment compounds,
                         developing polyclonal and ultimately monoclonal antibodies,
                         sequencing and cloning human COX-1 and COX-2 DNA, and
                         using cell-based and recombinant enzyme assays to test for
                         selective COX-2 inhibition (hereinafter “the Project”).

            9.           A similar list was given to Monsanto, as compiled by Mr. Keith Ricker, BYU’s

30(b)(6) witness on trade secrets.17

            10.          These trade secrets were sufficiently well identified that, in the expert report of

Defendants’ expert Joseph Mancini, he was able to identify and describe each of them separately

in a chart that purported to show that each trade secret had been publicly disclosed or made

readily available.18

            11.          Pfizer also took the opportunity to depose BYU experts Mr. Fellmeth and Dr.

Bell, as well as Mr. Ricker and Dr. Simmons himself, asking each of them numerous questions

pertaining to BYU’s trade secrets.19

            B.           In 1989, Dr. Simmons Discovered A Second COX Enzyme, And Was The
                         First Person To Have the Vision Of Designing NSAIDs To Selectively Inhibit
                         That Enzyme.

            12.          This case deals with what have been called non-steroidal anti-inflammatory drugs

or “NSAIDs.” Traditional NSAIDs like aspirin and ibuprofen have been used for years to treat

inflammation, pain and fever.20 In 1990, estimated worldwide sales of NSAIDs were $5.3

billion.21




17
   K. Ricker, “Substance and Identity of BYU’s Trade Secrets,” marked as part of Ex. 1073 to
Mr. Ricker’s 2 Jun 11 deposition, Ex. 190.
18
   J. Mancini Expert Rpt., 24 Jul 11, at Appdx. G, Ex. 191.
19
   K. Ricker Dep., 2-3 Jun 11, Ex. 192; A. Fellmeth Dep., 13 Sep 11, Ex. 193; R. Bell Dep., 29
Sep 11, Ex. 138; D. Simmons Dep., 7-8 Oct 11, Ex. 4.
20
   R. Bell Expert Rpt., 18 Feb 11, ¶¶ 7-8, Ex. 47; Cyclooxygenase-2 Inhibitor Project, 9 Sep 92,
BYU-PFE 042354-359 at 354, Ex. 139.
21
   P. Isakson Witness Statement, 23 Aug 99, ¶ 3, Ex. 99.


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            13.          The key to how aspirin and other NSAIDs work is an enzyme commonly called

cyclooxygenase or “COX.”22 The COX enzyme produces molecules called prostaglandins, which

are important in inflammation and pain; NSAIDs work by preventing COX from producing

prostaglandins.23 A major problem of traditional NSAIDs, however, is that they induce “gastric

side effects including potentially fatal stomach ulcers.”24

            14.          As Monsanto has acknowledged:

                         For many years it was thought that COX was a single enzyme
                         present constitutively in most cells and that inhibition of this
                         enzyme would lead to decreased production of unwanted PGs
                         [prostaglandins], e.g. in inflamed tissue, as well as beneficial PGs
                         produced in the stomach, kidney and perhaps elsewhere.25

            15.          In 1989, Dr. Simmons at BYU discovered and cloned a second COX gene, now

called “COX-2.”26 Studies show that this second isoform of COX, “COX-2,” is what actually

induces the prostaglandins that caused pain and inflammation, whereas the first type of COX

(now called “COX-1”), is a “constitutive form present in tissues such as gut and kidney.”27

COX-1 produces prostaglandins “that are necessary for normal physiological function.”28

            16.          The Defendants later acknowledged the significance of the discovery of COX-2:

                         The discovery of COX-2 represents perhaps the greatest potential
                         breakthrough in medicine and certainly the greatest breakthrough
                         in the treatment of arthritis and pain.29




22
   R. Bell Expert Rpt., 18 Feb 11, Ex. 47 at ¶¶ 7-8.
23
   Id. at ¶¶ 7-8; S. Prescott Expert Rpt., 18 Feb 11, Ex. 33 at ¶ 1.
24
   P. Isakson Witness Statement, 23 Aug 99, Ex. 99 at ¶ 3.
25
   Cyclooxygenase-2 Inhibitor Project, 9 Sep 92, Ex. 139 at BYU-PFE 042355.
26
   Ltr. to E. Woolley from D. Simmons, 19 Oct 89, BYU-12-0511-528, Ex. 10.
27
   Cyclooxygenase-2 Inhibitor Project, 9 Sep 92, Ex. 139 at BYU-PFE 042355.
28
   Monsanto Briefing Document For SC-58635, 15 Jul 97, BYU-PFE 666868-906 at 872, Ex.
194.
29
   Id.


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            17.          Dr. Simmons’s 1989 discovery of COX-2 was the culmination of years of study,

training and research.30 From 1978 through 1986, Dr. Simmons was trained in pharmacology,

biochemistry, and molecular biology, including the cloning and characterization of inducible

genes.31 By 1982, for example, Dr. Simmons was involved in the cloning and characterization of

a molecule that had not previously been cloned, and learned “how to clone, identify and

sequence inducible mRNAs.”32 This was a skill that was rare at that time and “required the

mastery of a number of different techniques to work with and manipulate mRNAs, cDNAs, and

genes.”33 That and other skills that he learned put Dr. Simmons in a unique position to do his

later work relating to cyclooxygenase.34

            18.          From 1986 until early 1989, Dr. Simmons worked at Harvard University in the

laboratory of Raymond L. Erikson, the American Cancer Society Professor of Cellular and

Development Biology.35 His work focused on searching for inducible genes that might be

involved with cancer, and led to his cloning of what he initially called “CEF-147,” but which,

when he got to BYU, he identified as COX-2.36

            19.          As Pfizer expert Dr. Tim Hla has testified, the experimental process of cloning a

gene is “tedious” and “difficult,” and takes “intensive” work “for quite some time.”37

            20.          During Dr. Simmons’s lengthy process in isolating and cloning CEF-147, or

COX-2, he:




30
   D. Simmons Amended and Supp. Expert Rpt., 10 Jun 11, ¶¶ 4-37, Ex. 57.
31
   Id. at ¶ 2.
32
   Id. at ¶¶ 21-25.
33
   Id. at ¶ 25.
34
   Id. at ¶ 25.
35
   Id. at ¶ 53.
36
   Id. at ¶ 38.
37
   T. Hla Dep., Univ. of Rochester v. Searle, 16 Jan 03, 58:3-59, Ex. 142.


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            •            Made cDNA “libraries,” which are collections of the different DNA sequences in
                         a cell, in order to isolate and identify DNA clones.38

            •            Isolated the total pool of inducible genes from which he ultimately isolated COX-
                         239

            •            Made antibodies, including “every step in the multi-step procedure for making the
                         antigen,” from “injection to characterizing the resulting serum for titer and cross-
                         reactivity.”40

            •            Prepared probes and “screened,” by various “novel and laborious methods,” the
                         cDNA libraries he had constructed, in order to identify a variety of important
                         genes involved in cancer and in other cellular processes.41

            •            Obtained “hundreds of clones that had tested positive” through the screening
                         process, then placed them into groups to determine whether any of the clones
                         were related to or the same as other of the clones that had been found.42

            •            In Dr. Simmons’s words:

                         “Group placement required many steps and many techniques,
                         including plaque purifications phage isolation, DNA purification,
                         restriction digestions, Southern blotting, radioactive probe
                         labeling, cross-hybridization analysis and Northern blotting.”43

            •            Found a group of 12 genes that were induced or activated by a cancer-causing
                         virus in an “immediate early” fashion.44

            •            Tested induction of the 12 clones using various inducers, including serum (blood
                         serum).45

            •            Partially “sequenced” the clones that had been isolated to learn their nucleic acid
                         or protein sequences.46 In this process he identified genes that were completely
                         unknown to science.47



38
   D. Simmons Amended and Supp. Expert Rpt., 10 Jun 11, Ex. 57 at ¶¶ 39-41.
39
   Id. at ¶ 45.
40
   Id. at ¶ 58.
41
   Id. at ¶¶ 56, 61-68.
42
   Id. at ¶ 69.
43
   Id. at ¶ 70.
44
   Id. at ¶ 73.
45
   Id. at ¶¶ 81-83.
46
   Id. at ¶¶ 93-94.
47
   Id. at ¶ 94.


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            •            Determined the full-length sequence of a full-length clone, which was a
                         “laborious process taking many steps.”48

            •            Determined the sequence of a COX-2 cDNA by the fall of 1989.49

            21.          Dr. Simmons understood at the time that, as the target for NSAIDs, the COX

enzyme was “the foundation of a multibillion dollar industry.”50 Dr. Simmons also understood

that his discovery raised the possibility of designing NSAIDs that would selectively block only

the COX-2 enzyme, thus not blocking the helpful secretions that protected the lining of the

stomach and other organs.51

            22.          To document his discovery, Dr. Simmons wrote a notarized letter, dated 19

October 1989, to the Chairman of BYU’s Chemistry Department. In that letter Dr. Simmons

said:

                         By studying the structure of both the growth and normal
                         synthetases [COX-2 and COX-1] we may be able to rationally
                         design drugs that selectively inhibit one or the other and thus
                         reduce unwanted side effects.52

            23.          This statement by Dr. Simmons is the first written statement proposing the idea of

selectively inhibiting COX-1 versus COX-2 for the purposes of designing an NSAID that would

reduce unwanted side effects.53 Pfizer’s expert witness was not aware of any other written

statement to that effect in the 1989 to 1991 time period.54

            24.          Although Monsanto’s Dr. Needleman had previously hypothesized the existence

of a “second pool” of COX, “pool” is not a scientific term, and “you could come up with



48
   Id. at ¶¶ 97-103.
49
   Id. at ¶¶ 130-131.
50
   Ltr. to E. Woolley from D. Simmons, 19 Oct 89, Ex. 10 at BYU-12-0513.
51
   Id.
52
   Id. (emphasis added).
53
   T. Hla Dep., 21 Sep 11, 192:9-194:7, Ex. 126.
54
   Id. at 192:9-194:7.


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different conclusions” regarding the cause of these different “pools.”55 Prior to Dr. Simmons’s

association with Monsanto, “Dr. Needleman had not resolved this pool theory to determine what

was really going on.”56 And as Pfizer’s expert molecular biologist testified, in order to determine

what was really going on, “you need to clone the gene to completely identify that you have a

second form of the enzyme,” so “when the COX-2 gene was cloned, it showed that there was a

second form of the enzyme, and that was the definitive evidence.”57

            25.          As Monsanto’s expert also testified, Dr. Simmons was the first one to clone a

COX-2 cDNA.58

            C.           Prior To 1992, Pharmaceutical Companies Were Not Looking For COX-2
                         Selective Or Gastric-Sparing NSAIDs, Hence The NSAID Market Was
                         Stagnant.

            26.          Because of the large number of NSAIDs already on the market, all of which had

serious side effects, NSAID research was a “relatively unproductive area of research by the

1980s.”59 Most pharmaceutical companies had only modest interest in expending the resources to

identify, develop, and market additional NSAIDs, because it was understood that any new

NSAID would have the same serious side effects as existing NSAIDs.60

            27.          By 1990, without knowledge of Dr. Simmons’s discovery, the majority of COX

researchers—having looked for a second COX gene without success—concluded that there was

only one COX gene and one COX enzyme.61 For example, in 1990, one prominent researcher,

Dr. William Smith from Michigan State University, published a paper expressing his conclusion



55
   J. Mancini Dep., 7 Nov 11, Ex. 32 at 347:3-349:12.
56
   Id. at 347:3-349:12.
57
   Id. at 347:3-349:12 (emphasis added).
58
   Id. at 350:3-9.
59
   R. Bell Expert Rpt., 18 Feb 11, Ex. 47 at ¶¶ 16-18.
60
   Id. at ¶¶ 16-18.
61
   Id. at ¶ 11.


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that there was only a single COX gene.62 The “conclusion that there was only one COX gene was

generally accepted among COX researchers and the pharmaceutical industry.”63

            28.          For example, the notes of Monsanto’s Dr. Seibert, taken at a presentation given by

a scientist discussing cyclooxygenase at a May 1990 prostaglandin conference in Florence, state:

“looks like only 1 gene.”64

            29.          Indeed, for a period of at least 29 months, beginning in late 1988 and continuing

through April 1991 (when Dr. Simmons shared his finding with Monsanto), Monsanto’s Dr.

Karen Seibert had herself been trying to isolate a second form of COX, but had not succeeded.65

As Dr. Seibert testified, prior to Dr. Simmons presenting his ideas to Monsanto, Monsanto “had

not yet resolved the existence of the two-cyclooxygenase system.”66

            30.          Monsanto did recognize, however, as expressed in a February 1991 e-mail from

Monsanto’s Roger Weigand to Dr. Phil Needleman, that “if a second, inducible, COX exists it

would be a prime candidate as a drug target,” and if so, “there’s a big science payoff just

waiting for the taking.”67

            31.          But as Pfizer expert Dr. Mancini testified, he is not aware of any pharmaceutical

companies by 1991 that were involved in efforts to find a COX-2 selective drug, other than

Monsanto after its association with Dr. Simmons.68




62
   S. Prescott Expert Rpt., 18 Feb 11, Ex. 33 at 8; see also, Smith, W.L., et al., Molecular Basis
for the Inhibition of Prostanoid Biosynthesis by Nonsteroidal Anti-inflammatory Agents, Stroke,
Vol. 21, No. 12 (Dec. 1990), Ex. 94.
63
   R. Bell Expert Rpt., 18 Feb 11, Ex. 47 at ¶ 15.
64
   K. Seibert Florence Conference Notes, 28 May-11 Jun 90, PFC00678266-327 at 293, Ex. 195.
65
   K. Seibert Dep., 1-3 Jun 10, 318:24-321:3, Ex. 3.
66
   Id. at 817:13-19.
67
   Email to P. Needleman from R. Wiegand, 15 Feb 91, S01433453, Ex. 96 (emphasis added).
68
   J. Mancini Dep., 7 Nov 11, Ex. 32 at 56:8-57:1.


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            D.           After Discovering And Cloning A Second COX Gene, Dr. Simmons, Before
                         Collaborating With Monsanto, Did Further Research And Experiments To
                         Develop His Vision, Plan And Tools To Select, Test, And Modify COX-2
                         Selective NSAIDs.

            32.          As noted, by October 1989, Dr. Simmons had discovered the existence of a

separate cyclooxygenase gene, “COX-2,” and had partially cloned a chicken COX-2 cDNA. 69

            33.          Prior to sharing his findings with anyone outside of BYU, however, he continued

his research on COX 1 and COX-2. The evidence shows that by February of 1991, Dr. Simmons

and his laboratory had:

            •            Tested some traditional NSAIDS to see if they inhibited COX-2.70

            •            Tested some traditional NSAIDs for their ability to kill cancer cells that contain
                         COX-2, versus normal cells lacking COX-2.71

            •            Done the first testing using a cell system characterized for COX-2 expression.72

            •            Determined how COX-1 differed from COX-2.73

            •            Constructed and sequenced a full-length COX-2 clone.74

            •            Constructed DNA plasmids for performing RNA protection assays, sometimes
                         called “nuclease protection assays,” the first time this technique was used to
                         measure the expression of COX-2 mRNA.75 (Monsanto later used this same
                         technique, using Dr. Simmons’s mouse COX-1 and COX-2 cDNA clones and
                         sequences.)

            •            Cloned chicken COX-2 into an expression vector called PET-3, and then used the
                         vector to cause bacteria to synthesize significant amounts of chicken COX-2
                         protein.76




69
   Ltr. to E. Woolley from D. Simmons, 19 Oct 89, BYU-12-0511, Ex. 10.
70
   D. Simmons Amended and Supp. Expert Rpt., 10 Jun 11, Ex. 57 at ¶ 149.
71
   Id. at ¶ 154.
72
   Id. at ¶ 158.
73
   Id. at ¶¶ 164-172.
74
   Id. at ¶¶ 180-181, 286.
75
   Id. at ¶ 184.
76
   Id. at ¶ 188.


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            •            Prepared purified COX-2 protein for the first time and produced for the first time
                         an anti-COX-2 antibody.77

            •            Did the first immunoprecipitation of COX-2 protein using an anti-COX-2
                         antibody.78

            •            Examined the expression of COX-2 in a variety of tissues in chicken, which
                         showed that little COX-2 is found constitutively in the body.79

            •            Cloned mouse COX-1 and mouse COX-2 and compared their sequences side-by-
                         side.80 By 19 January 1991, Dr. Simmons’s lab had the only matched pair of
                         COX-1 and COX-2 clones from a single animal species in the world.81

            •            Examined the expression of mouse COX-1 and COX-2 in tissues and cells.82

            34.          In addition to the above, Dr. Simmons’s expert report gives many other examples

of COX-related research, tests and tools that his laboratory conducted, made or further developed

between 1989 and February 1991.83

            35.          In summary, by early 1991, in Dr. Simmons’s words:

                         It is my opinion, therefore, that when I went to the Monsanto
                         laboratory in April [1991] that my laboratory, and only my
                         laboratory, was in possession of much of this knowledge regarding
                         COX-2 and only I was in possession of many of the reagents
                         needed to investigate COX-2 in a pharmaceutical setting including,
                         but not limited to, being the sole possessor of COX-1 and COX-2
                         clones from the same species and characterized anti-COX-2
                         antibody as well as purified COX-2 protein.84

            36.          In addition to Dr. Simmons’s expert report in this case, documents written by Dr.

Simmons at the time also show that, by early 1991, Simmons had developed a specific plan for




77
   Id. at ¶¶ 190-192.
78
   Id. at ¶ 192.
79
   Id. at ¶¶ 233-236.
80
   Id. at ¶¶ 317-320, 339-348.
81
   Id. at ¶ 342.
82
   Id. at ¶¶ 205-210, 313-315.
83
   Id. at ¶¶ 180-374.
84
   Id. at p. 87, ¶ 374.


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selecting, testing and modifying NSAIDS through the use of his COX-1 and COX-2 biological

materials and information.85

            E.           BYU and Dr. Simmons Took Reasonable Steps To Preserve The
                         Confidentiality of Their COX-2 Discoveries And Research.

            37.          Despite his discovery of COX-2 in 1989 and the further research relating to that

discovery, Dr. Simmons did not publish anything about his work until April 1991.86 And

although Dr. Simmons’s April 1991 paper disclosed his cloning of chicken COX-2, the paper did

not disclose his compilation trade secret generally or important elements of that trade secret.87

For example, by the time of his April 1991 publication, Dr. Simmons had also identified the

sequence of mouse COX-2 and had developed his own clones of mouse COX-1 and mouse

COX-2, but the April 1991 article did not disclose those discoveries.88

            38.          At BYU itself, Dr. Simmons’s laboratory, all rooms in which experiments were

conducted, and the trade secrets developed therein were protected by a locked door, unless either

Dr. Simmons or one of his employees was inside.89 BYU did not distribute keys fitting the locks

of the doors except to BYU biochemistry professors having offices on the same floor as Dr.

Simmons’s laboratory, Dr. Simmons’s graduate and honors thesis students, and BYU custodial

employees.90




85
   Ltr. to E. Wooley from D. Simmons, 19 Oct 89, BYU-12-0511-528, Ex. 10; D. Simmons NIH
Grant Application, 27 Jan 91, BYU-12-1087-119, Ex. 103, Research Proposal, 5 Apr 91, BYU-
11-2376-378, Ex. 11; Research Agreement, Appdx. A, 1 Aug 91, BYU-11-0111-127, Ex. 9.
86
    Xie, et al, Expression of a Mitogen-Responsive Gene Encoding Prostaglandin Synthase is
Regulated by mRNA Splicing, Proc. Natl. Acad. Sci. USA Vol. 88 (1991), BYU-18-4391-395,
Ex. 54.
87
   Id.
88
   Id.
89
   Pls. 2nd Supp. Resp. to Defs. Interr. No. 8, 10 Dec 08, p. 10, Ex. 188.
90
   Id.


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            39.          Further, Dr. Simmons’s employees, specifically Jeffrey Chipman, Gary Evett, and

Weilin Xie, understood from their discussions and interaction with Dr. Simmons that the work

performed in the laboratory, including the work that yielded the trade secrets at issue, was

confidential and was not to be communicated outside the laboratory.91 The laboratory employees

were particularly concerned about confidentiality because they did not want competing

laboratories to get the trade secret information.92

            40.          For example, Dr. Xie was asked if Dr. Simmons had discussions with him

concerning the confidentiality of the work, to which Dr. Xie replied:

                         Oh, yeah. That was very clear. And we work in very competitive
                         work. And it’s really, the confidentiality was – Dr. Simmons made
                         it clear to me the project you work with and you report to me, we
                         discuss it. And so that was very clear.93

            41.          Additionally, in 1991, when Dr. Simmons’s employee, Jeffrey Chipman,

submitted his undergraduate thesis to satisfy graduation requirements, he understood that it

needed to stay confidential; Chipman did not make his thesis publicly available.94 BYU did not

make the thesis available in its library until 1993, well after Monsanto terminated the

collaboration with BYU.95

            42.          Similarly, after Monsanto terminated the Research Agreement with BYU, Weilin

Xie obtained employment with Dr. Harvey Herschman but did not communicate the trade secrets

he learned in working with Dr. Simmons in his laboratory.96




91
   Id.
92
   Id.
93
   W. Xie Dep., 27 Mar 09, Ex. 82 at 21:14-21, 22:3-34:20.
94
   Pls. 2nd Supp. Resp. to Defs. Interr. No. 8, 10 Dec 08, Ex. 188 at p. 10.
95
   Id. at p. 11.
96
   Id.


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            43.          Gary Evett also kept the trade secrets that he learned through his work with Dr.

Simmons confidential during and after his employment with Dr. Simmons.97

            F.           Dr. Simmons Shared With Monsanto His COX-2 Discoveries and Vision And
                         Plan For Developing COX-2 Selective NSAIDs, Along With Biological
                         Reagents And Information On How To Use Them.

            44.          Beginning on 5 April 1991 and continuing up to 1 August 1991, the “effective

date” of the Research Agreement, Dr. Simmons shared with Monsanto not only his specific plans

for the selection, testing, and modifying of compounds to find a COX-2 selective drug, but also

the COX-related biological materials that he had developed before 5 April 1991, as well as those

that he developed or refined after that date, and a great deal of practical information for using

those materials in the search for COX-2 selective NSAIDS.98

            45.          Much of the confidential information that Dr. Simmons shared with Monsanto

was shared via approximately 60 telephone calls he made to Monsanto scientists, including to

(314) 362-2565, the phone number for Dr. Needleman’s laboratory at Washington University

(where Dr. Seibert and Dr. Masferrer were located until late 1991).99 This number appears to

have been shared by at least Dr. Masferrer, Dr. Seibert, and Kathy Leahy.100 Dr. Simmons also

shared confidential information with Monsanto through an approximately equal number of phone

calls that Monsanto scientists made to him during the same period.101




97
   Id.
98
    D. Simmons Amended and Supp. Expert Rpt., 10 Jun 11, Ex. 57 at ¶¶ 37-676 contains a
detailed discussion of the materials and information De. Simmons provided to Monsanto during
this period, and Monsanto’s use of those materials and information.
99
   D. Simmons Decl., 17 Jun 11, Ex. 5 at ¶ 15; D. Simmons laboratory telephone logs, BYU-01-
1290-404, Ex. 16.
100
    D. Simmons Decl., 17 Jun 11, Ex. 5 at ¶ 15.
101
    Id. at ¶ 15.


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            46.          During these phone calls, Dr. Simmons disclosed much additional trade secret

Confidential Information to Monsanto through Dr. Seibert and Dr. Masferrer, and occasionally

Dr. Needleman.102

            47.          As BYU expert Dr. Bell has opined:

                         The set of concepts and reagents given Monsanto by Simmons in
                         1991 must be taken as a whole, as it constituted a unified plan,
                         supporting data, and unique reagents. Importantly, to my
                         knowledge , no one anywhere prior to March of 1992 had laid out
                         disclosed a plan for finding COX-2 selective NSAIDs. As I have
                         examined this package as a whole, I see that it gave a large
                         advantage to Monsanto over its industrial competitors. No other
                         company had this set in 1991, and only Merck had much of it
                         by mid-1993.103

                         1.           Dr. Simmons’s 5 April 1991 Presentation At Monsanto.

            48.          On 5 April 1991, Dr. Simmons, at Monsanto’s request, presented a seminar to

Monsanto scientists at Monsanto during which he discussed his discovery of COX-2 and his

cloning of COX-2 in chicken and mouse.104 He also explained the overall objective of his plan in

light of the discovery of an additional COX gene and enzyme:

                         Pharmaceutically, this multiplicity of enzymes may be exploited to
                         design more selective inhibitors of PGHS [COX].105

            49.          On 5 April 1991 also, Dr. Simmons gave Monsanto’s Dr. Needleman a Research

Proposal.106 That proposal disclosed Simmons’s finding of “multiple PGHS enzymes” (i.e. COX-

1 and COX-2) that “raise[d] significant questions relevant to the pharmaceutical industry,”

including whether NSAIDS “show selective inhibition of isoenzymic forms of [COX].”107



102
    D. Simmons Decl., 1 Jun 09, Ex. 12 at ¶ 23.
103
    R. Bell Rebuttal Expert Rpt., 26 Aug 11, ¶ 49, Ex. 196 (emphasis added).
104
    Pls. Amd. 2nd Supp. Resp. to Defs. Interr. No. 8, 10 Dec 08, Ex. 188 at p. 6.
105
    D. Simmons Conclusions Slide, 3 Apr 91, BYU-10-0676, Ex. 197.
106
    Research Proposal, 5 Apr 91, BYU-11-2376-378, Ex. 11.
107
    Id. at BYU-11-2377.


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            50.          The Research Proposal also disclosed that Dr. Simmons’s had “cloned and

partially characterized” a COX-2 cDNA in chicken and mouse, and disclosed details about how

the COX-2 gene functioned.108

            51.          The Research Proposal also stated that BYU was

                         seeking a collaboration with a pharmaceutical company interested
                         in pursuing the drug-related applications of our work. Our first
                         interest is the interaction of NSAIDS with PGHS isoenzymes.109

                                                                      ***

                         In addition to funding, we would like to establish a productive
                         interaction with biochemists and organic chemists within the
                         pharmaceutical company who could provide prostaglandins and
                         NSAIDs for testing as well as participate in discourse about the
                         work we are pursuing.110

                         2.           Monsanto Prepares A Research Agreement With Confidentiality
                                      Provisions.

            52.          On 11 April 1991, Monsanto patent lawyer Larry Swaney sent Dr. Simmons a

draft Research Agreement for BYU’s review and approval.111

            53.          Paragraph 4.1 of the draft Research Agreement contained confidentiality

provisions that protected as confidential all:

                         proprietary information, including information relating to
                         transformed cells, genes, transformation vectors, transformation,
                         selection and regeneration procedures, media formulations,
                         chemicals, DNA sequences, and probes.…112




108
    Id.
109
    Id.
110
    Id. at BYU-11-2378.
111
    Ltr. to D. Simmons from L.R. Swaney, with attached draft of Research Agreement, 11 Apr
91, S00660056-069, Ex. 14.
112
    Id. at ¶ 4.1.


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            54.          Under the Research Agreement, the parties agreed that confidential information

would be used “only as provided for in this Agreement,” and agreed not to use or disclose such

information “in any other manner.”113

            55.          The confidentiality provisions in the first draft agreement remained the same in

the final, signed Research Agreement.114 Because, among other reasons, the confidentiality

provisions became effective “from the date of disclosure,” the Court has held that information

that BYU or Dr. Simmons shared with Monsanto was subject to the Research Agreement’s

confidentiality provisions, even if the information was shared prior to the Research

Agreement.115

                         3.           Following The April 1991 Scientific Conference, Dr. Simmons Sends
                                      COX-Related Biological Reagents To Monsanto.

            56.          In late April 1991, Dr. Simmons attended a scientific “FASEB” conference in

Atlanta, Georgia.116 (“FASEB” is the Federation of American Societies for Experimental

Biology.)

            57.          While at the FASEB conference, Dr. Simmons also met again with Monsanto

scientists Drs. Seibert and Masferrer.117 They expressed an interest in beginning their scientific

collaboration immediately, and asked Dr. Simmons to send them his COX-2 clone and other

biological materials.118 Pursuant to their request, and understanding that his materials would be

confidential,119 Dr. Simmons did so on 29 April 1991, sending them his mouse COX-1 and




113
    Id.
114
    Research Agreement, 1 Aug 91, BYU-11-0111-127, Ex. 9 at ¶ 4.1.
115
    Mem. Dec. and Order, 30 Sep 09, Dkt. 302.
116
    D. Simmons Dep., 20-21 Apr 09, Ex. 1 at 283:14-284:17; 289:10-19.
117
    Id. at 283:14-284:17.
118
    Id.
119
    Pls. 2nd Supp. Resp. to Defs. Interr. No. 8, 10 Dec 08, Ex. 188 at p. 10.


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mouse COX-2 cDNAs, his chicken COX-2 antibodies, and information about the use of such.120

Dr. Simmons later sent Monsanto the nucleotide sequences and restriction maps for his mCOX-1

and mCOX-2 cDNAs.121

            58.          At that time, and throughout 1991, Dr. Simmons had the only set in the world of

COX-1 and COX-2 cDNAs from the same mammalian species.122 In addition, in the words of

BYU expert Dr. Dellaria:

                         At that time no other research group, either academic or industrial,
                         had access to the unique combination of Dr. Simmons clones,
                         antibodies, research data, expert advice and project.123

                         4.           From May Through July 1991, Dr. Simmons Provides Monsanto With
                                      Additional Scientific Materials And Information.

            59.          On 23 May 1991, Simmons also provided Monsanto with a copy of his

confidential 27 January 1991 NIH grant application.124 The NIH proposal contained detailed

information about the role of COX-2 in cancer and the potential of COX-2 as a target for anti-

cancer therapy.125

            60.          On 6 June 1991, Dr. Simmons faxed to Drs. Seibert and Masferrer’s Washington

University labs a document showing a side-by-side comparison of the GenBank nucleotide

sequences for murine COX-1 with his nucleotide sequence for COX-2.126 “GenBank” is a




120
    Ltr. from D. Simmons to K. Seibert and J. Masferrer, 29 Apr 91, BYU-PFE 059332, Ex. 15.
121
    Expert Rebuttal Report, D. Simmons, 26 Aug 11, Ex. 161 at ¶ 95 and App. A, p. 5.
122
    K. Seibert Dep., 1-3 Jun 10, Ex. 3 at 359:23-360:14; D. Simmons Amended and Supp. Expert
Rpt., 10 Jun 11, Ex. 57 at ¶ 342.
123
    J. Dellaria Expert Rpt., 18 Feb 11, Ex. 198 at ¶ 5.
124
    Ltr. to P. Needleman from D. Simmons, 23 May 91, BYU-05-8934, Ex. 102.
125
    Id.
126
    Fax to K. Seibert from D. Simmons, 6 Jun 91, BYU-PFE-STL 0107585, Ex. 229, see also, D.
Simmons laboratory telephone logs, BYU-01-1390-404, Ex. 16, and Abstract Form, BYU-PFE-
Personnel Files 000107, Ex. 199.


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database, maintained by the National Institute of Health that has all published DNA

sequences.127

            61.          On or about 24 June 1991, Simmons also provided Monsanto with Appendix A to

the Research Agreement,128 which described in further detail Dr. Simmons’s plan for the

selection, testing, and modifying of NSAIDS for COX-2 selectivity, including:

            •            His plan to use the COX-1 and COX-2 antibodies and cDNA probes that
                         Simmons had developed to “explore the nature of nonsteroidal anti-inflammatory
                         drug (NSAID) interaction” with COX-1 and COX-2.

            •            His plan to identify “isoenszyme-specific inhibition of” COX activity.

            •            The planned use of “[m]urine COX-1 and COX-2 to be placed in eukaryotic
                         expression vectors for over-expression in eukaryotic cells,” so as to allow him “to
                         express high levels of COX-1 and COX-2 in cells which express only small
                         amounts of either enzyme.”

            •            The development of “assays” whose “main purpose” is to “produce cell lines
                         which express large express large amounts of either COX-1, COX-2, or both
                         COX-1 and COX-2 together.”

            •            A plan to “measure the COX activity of cell lines over-expressing each
                         isoenzyme, or both enzymes,” in order to “use these cells as models for
                         intracellular inhibition of COX by NSAIDs.”

            •            A plan to “test as many NSAIDs” as could be obtained for “their ability to inhibit
                         COX activity in cells transfected with individual COX isoenzymes.”

            •            A plan to develop “[d]ose-response curves” in order “to determine whether
                         specific NSAIDS preferentially inhibit either COX,” and to investigate the “mode
                         of inhibition” also.

            •            A plan to “analyze expression of [COX-1 and COX-2] genes by Northern Blot
                         following NSAID or glucocorticoid treatment.”

            •            A plan to repeat these experiments “for human COX-1 and COX-2 when these
                         cDNAs are available.”

            •            A plan to research the use of cyclooxygenase in detecting and treating cancer.


127
      E. Harding Dep., 8 Feb 11, 33:23-34:4, Ex. 201.
128
      Ltr. to L.R. Swaney from D. Simmons, 24 Jun 91, BYU-31-2911-915, Ex. 105.


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            62.          As BYU’s expert Dr. Steven Prescott has stated:

                         Simmons’ 29 October 1989 notarized letter to Woolley, 5 April
                         1991 proposal to Monsanto, Appendix A to the Research
                         Agreement, and 1991 NIH grant application—all of which he
                         provided to Monsanto—lay out in increasing levels of detail
                         Simmons’s plan to find a COX-2 selective NSAID.129

            63.          Dr. Prescott also testified that, other than these documents from Dr. Simmons, he

had “seen no earlier documents describing a plan to find a COX-2 selective NSAID.”130

            64.          On 8 July 1991, BYU signed the Research Agreement with Monsanto, which had

an effective date of 1 August 1991.131

            65.          On 16 July 1991, Dr. Simmons’s laboratory faxed Monsanto additional

confidential information, namely, a side-by-side comparison of the amino acid sequences of

COX-1 and COX-2.132 During the same time, Dr. Simmons also shared other data with

Monsanto, including the results of assays of COX-1 and COX-2 in various cells and tissues.133

            66.          On 24 July 1991, at Dr. Simmons’s request, Dr. William Bradshaw, a BYU

scientist, personally visited Monsanto and gave Monsanto scientists more confidential

information, including cell lines which Dr. Simmons had proved would produce COX-2, purified

COX-2 protein, antibodies to mouse COX-2, and information about these antibodies based on

data and research performed at BYU.134 These materials allowed Monsanto to significantly

shorten the necessary process of trial and error that Monsanto would otherwise have

encountered.135 These antibodies represented second generation antibodies that could be used by



129
    S. Prescott Expert Rpt., 18 Feb 11, Ex. 33 at ¶ 181.
130
    Id. at ¶ 182.
131
    Research Agreement, 1 Aug 91, BYU-11-0111-127, Ex. 9.
132
    Fax to Monsanto from BYU, 16 Jul 91, BYU-UR 000047361-365, Ex. 90.
133
    D. Simmons Decl., 1 Jun 09, Ex. 12 at ¶ 23.
134
    Id. at ¶ 26.
135
    Id. at ¶ 26.


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Monsanto to compare with the first set of antibodies made against chicken COX-2 that had been

sent to Monsanto on 29 April 1991.136

                         5.           From August 1991 Through The Termination Of The Research
                                      Agreement, Dr. Simmons Provided Monsanto With Additional
                                      Confidential Materials And Information.

            67.          On or about 13 September 1991, Dr. Simmons provided Monsanto with certain

3T3 cells, which he had been specifically characterizing for COX-2 and COX-1 expression.137

            68.          From April 1991 through the end of 1991, Dr. Simmons and his team continued to

work to identify a cell line that would express only COX-2 and not COX-1, which would then

allow them to finalize an enzyme assay that would identify COX-2 selective NSAIDs.138

            69.          Dr. Simmons has stated that his work on the two-cell assay system was only

partially completed in April of 1991:

                         It is important to note that each of these experiments (e.g. in vitro
                         translation of mCOX-1 and mCOX-2, TLC analysis with
                         exogenous H arachidonic acid, and an RIA of PGE2 [standard
                         curve] were only parts of building blocks to creating a two-cell
                         assay. Moreover, these parts of building blocks were in their
                         formative stage.139

            70.          At the beginning of August 1991, BYU’s Gary Evett developed an important step

in making this assay.140

            71.          What Dr. Simmons and his team found was that “we could use [NIH 3T3] cells as

a source for COX-1 by starving the cells—that is treating them with low levels of serum and

simultaneously treating them with dexamethasone. This was one of the foundational cell systems




136
    D. Simmons Dep., 20-21 Apr 09, Ex. 1 at 91:6-92:24; 98:12-99:6.
137
    D. Simmons Amended and Supp. Expert Rpt., 10 Jun 11, Ex. 57 at ¶¶ 711-712.
138
    D. Simmons Decl., 17 Jun 11, Ex. 5 at ¶ 18.
139
    D. Simmons Amended and Supp. Expert Rpt., 10 Jun 11, Ex. 57 at ¶ 363.
140
    Id. at ¶ 649.


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that we later used for testing NSAIDs. This characterization went on through October and

November of that year and was relayed to Monsanto.”141

            72.          Dr. Simmons states that through December 1991 and into January 1992, he and

his team at BYU:

                         performed a number of experiments on RS2 cells to characterize
                         them as a source of COX-2. We then compared them with NIH
                         3T3 cells. These comparisons were being done through December
                         and January as shown at BYU-02-0116. These comparisons
                         yielded a two-cell assay for NSAID testing.142

            73.          Dr. Simmons goes on to say that, from November 1991 through late December of

1991 or early January of 1992, his lab “was setting up a two-cell system using NIH 3T3 cells

(serum starved and DEX treated for COX-1) and stimulated RS2 cells as a source of COX-2, and

[] had made measurements on these cells testing aspirin and indomethacin.”143

            74.          Further, Dr. Simmons states that the two-cell testing system was being done by

“setting up these various cell lines for the testing of NSAIDs beginning near the start of the new

year of 1992. All of this information was relayed to Monsanto.”144

            75.          In July 1992, Dr. Simmons met with Dr. Needleman at a scientific prostaglandin

conference in Montreal, Canada.145 Among other things, Dr. Simmons told Dr. Needleman that

Simmons believed that Diclofenac was a COX-2 selective drug.146




141
    Id. at ¶ 655.
142
    Id. at ¶ 665.
143
    Id. at ¶ 666.
144
    Id. at ¶ 669.
145
    D. Simmons Dep., 20-21 Apr 09, Ex. 1 at 34:11-20.
146
    D. Simmons Dep., 7-8 Nov 11, Ex. 4 at 102:5-15.


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            G.           BYU And Dr. Simmons Took Reasonable Steps To Guard The
                         Confidentiality Of Their Trade Secrets.

            76.          In disclosing his confidential COX-2 trade secrets to Monsanto, Dr. Simmons

understood that, pursuant to standard practice in the scientific community, Monsanto would

maintain the confidentiality of the materials and information.147 It was also the intent of

Monsanto’s Dr. Needleman to keep materials received from Dr. Simmons confidential; in his

words, “If it hasn’t been published, we’re not going to disclose it.”148

            77.          In addition, the terms of the Research Agreement specifically protected the

confidentiality of the materials and information BYU was providing to Monsanto, and limited

Monsanto’s use of such.

            78.          Professors strive to achieve balance between the need for the academic institution

to publish in the academic literature and the confidentiality required for collaboration with

industry.149 Like other academics, Dr. Simmons was expected to, and did, publish papers and

make presentations at seminars regarding his research work.150 During their collaborative

partnership, however, Dr. Simmons communicated with Monsanto regarding the scope of his

intended seminars and academic publications.151 In fact, Monsanto representatives attended

conferences at which Dr. Simmons made presentations, and Monsanto never expressed any

concern about the contents of Dr. Simmons’s presentations.152 Dr. Simmons was careful not to




147
    Pls. 2nd Supp. Resp. to Defs. Interr. No. 8, 10 Dec 08, Ex. 188 at p. 10.
148
    P. Needleman Dep., 17-18 Nov 10, Ex. 84 at 203:24-205:19; 200:5-206:5.
149
    Pls. 2nd Supp. Resp. to Defs. Interr. No. 8, 10 Dec 08, Ex. 188 at p. 12.
150
    Id.
151
    Id.
152
    Id.


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disclose information without Monsanto’s knowledge or information which in any way could

jeopardize the “Project.”153

            79.          As an active participant in the academic community, Dr. Simmons regularly

responded to requests from other researchers for samples, or aliquots, of his various trade

secrets.154 Dr. Simmons, aware that he both needed to maintain confidentiality of his trade

secrets and fulfill his academic obligation to advance science and research pursuant to accepted

academic standards, responded to certain of these requests by sending aliquots under the

following conditions: (1) that the clones not be used for commercial purposes, (2) that the clones

not be given to others without Dr. Simmons’s consent, and (3) that any publication using his

clones cite Dr. Simmons as the source of the clones.155

            80.          Effective August 1, 1991, with Monsanto’s knowledge and consent, Dr. Simmons

entered into a license agreement with Oxford Biomedical Research by which Dr. Simmons and

BYU licensed (1) the “cDNA clone of murine mitogen-inducible prostaglandin G/H synthase”

and (2) the “cDNA clone of murine prostaglandin G/H synthase.”156 Dr. Simmons continued to

protect his trade secrets by licensing these clones to Oxford only for the limited purpose of

allowing Oxford Biomedical Research to produce probes, antibodies, and enzymatically inactive

proteins for use as a standard.157

            81.          Oxford’s probes and antibodies were not made available to the scientific

community until late 1991, well after Dr. Simmons had conveyed his clones and antibodies to

Monsanto. Moreover, Oxford’s antibodies sold to the scientific community were not of the same



153
    Id.
154
    Id.
155
    Id.
156
    Id. at p. 13.
157
    Id.


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concentration as the various pure stocks Dr. Simmons provided to Monsanto, nor were they

accompanied with the instructions Dr. Simmons communicated to Monsanto as part of the

Project.158

            H.           As A Direct Result Of The Confidential Information And Materials That
                         Monsanto Received From Dr. Simmons, Monsanto Quickly Changed Its
                         Drug Research Program And Began Looking For A COX-2 Selective NSAID.

                         1.           Prior to Dr. Simmons, Monsanto was not looking for an improved
                                      NSAID, but was looking for a steroid-like solution to inflammation.

            82.          Prior to learning about Dr. Simmons and his COX-2 discoveries, Pfizer was not

looking for a COX-2 selective NSAID, but was focused on a program known as “the DIP

screening effort.”159

            83.          That effort involved focusing on “steroid related research, rather than non-steroid

anti-inflammatory drugs (NSAIDs).”160 This was because when the DIP project was instituted at

Monsanto in 1990, it was not known whether the inducible form of cyclooxygenase “was

different in structure from the constitutive form of the enzyme.”161

            84.          Prior to learning about COX-2 from Dr. Simmons, “Monsanto scientists were

working on the basis that any NSAID was likely to have gastric side effects.”162 In 1990,

according to Monsanto’s Jaime Masferrer, “we [had] no idea that there were two clones for the

cyclooxygenase.”163

            85.          Further, “[i]t was therefore not even known whether there was a possibility of

identifying an NSAID which could selectively inhibit the inducible form of the enzyme and not




158
    Id.
159
    P. Isakson Witness Statement, 23 Aug 99, Ex. 99 at ¶ 11, BYU-PFE 018576-577.
160
    Id.
161
    Id.
162
    Id. (emphasis added).


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the constitutive form that was thought to play a protective role in the stomach and small

intestine.”164

            86.          According to Pfizer’s Karen Seibert, when “Dr. Simmons showed up on April 5,

1991, [Pfizer] had not yet resolved the existence of two cycloxygen—of the two-cyclooxygenase

system.”165 Dr. Seibert testified that by 5 April 1991, her group had been hypothesizing a second

cyclooxygenase for 29 months,166 but they “had not isolated a second form of the RNA or the

gene.”167

            87.          Based on Monsanto’s understanding at the time, Monsanto was identifying

possible steroid-like candidates in its DIP program by distinguishing them from “compounds

which had NSAID-like activity.”168 Because Monsanto was not looking for selective NSAIDs

prior to Dr. Simmons, one step in Monsanto’s screen for a steroid-like drug was, after identifying

both the steroids and NSAIDs, “to exclude those compounds which had NSAID activity.…”169

            88.          Although Dr. Simmons published a paper in April 1991 disclosing his discovery

of chicken COX-2, that paper did not disclose his cloning of a paired set of mouse COX-1and

COX-2 genes, nor did it disclose the nucleotide sequence of his mouse COX-2 clone.170 And

although Dr. Herschman from UCLA published a paper in June 1991 disclosing his cloning of a




163
      J. Masferrer Dep., Merck Frosst v. Monsanto, 12 Dec 00, 16:23-24, BYU-PFE 106771, Ex.
48.
164
    P. Isakson Witness Statement, 23 Aug 99, ¶ 11, Ex. 99 at BYU-PFE 018576-577.
165
    K. Seibert Dep., 1-3 Jun 10, Ex. 3 at 817:13-19.
166
    Id. at 430:22-321:3.
167
    Id. at 319:6-7.
168
    P. Isakson Witness Statement, 23 Aug 99, ¶ 14, Ex. 99 at BYU-PFE 018578.
169
    Id. at ¶ 15 (emphasis added).
170
    Xie, et al, Expression of a Mitogen-Responsive Gene Encoding Prostaglandin Synthase is
Regulated by mRNA Splicing, Proc. Natl. Acad. Sci. USA Vol. 88 (1991), BYU-18-4391-395,
Ex. 54.


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COX-2 gene in mouse, along with a nucleotide sequence for that clone, Dr. Herschman’s

sequence contained an error.171

            89.          In any event, as Monsanto’s Dr. Isakson testified in 1999, “it was unclear from

the papers”

                         whether Simmons or Herschman had in fact cloned the inducible
                         COX enzyme which was being measured by Monsanto in the DIP
                         assay. There was no direct link between the enzymes identified by
                         the cloning by these group and enzyme responsible for the
                         inducible activity seen by Monsanto.172

            90.          According to BYU expert Dr. Dellaria, he is “not aware of any company

(including DuPont Merck, the discoverer of DuP-697) that started a selective NSAID program

based on the Simmons and Herschman publications.”173 Rather:

                         Questions about Simmons and Herschman’s published data needed
                         to be answered before drug companies would be willing to start
                         expensive COX-2 inhibitor projects. Monsanto—with access to
                         Simmons—had the tools and information to answer these questions
                         and start its program. Other pharmaceutical companies didn’t have
                         Simmons’s unpublished tools and information and didn’t
                         immediately start COX-2 inhibitor programs after seeing the two
                         papers.174

            91.          And as Pfizer expert Joseph Mancini testified, “having a [COX-1 gene/cDNA and

a COX-2 gene/cDNA] would be convincing evidence to you that there were in fact two




171
    Kujubu, et al., TIS10, a Phorbol Ester Tumor Promoter-inducible mRNA from Swiss 3T3
Cells, Encodes a Novel Prostaglandin Synthase/Cyclooxygenase Homologue, JBC, Vol. 266,
No. 20, (July 15, 91), HERSCH0182-188, Ex. 55; E. Harding Dep., 8 Feb 11, Ex. 201 at 153:7-
155:2 (“It was my expert opinion that the Harvey Herschman Genbank file had a sequencing
error in it.”).
172
    P. Isakson Witness Statement, 23 Aug 99, ¶ 17, Ex. 99 at BYU-PFE 018579-580 (emphasis
added).
173
    J. Dellaria Expert Rpt., 18 Feb 11, Ex. 198 at ¶ 2.
174
    R. Bell Expert Rpt., 18 Feb 11, Ex. 47 at ¶ 39.


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genes.…”175 Dr. Seibert agreed, testifying that “[t]he identification of the cDNA was—was

important to saying yes, there are two messages.”176

            92.          Dr. Seibert also testified that Dr. Simmons’s materials “validated” the hypothesis

that there “were two genes involved in cyclooxygenase synthesis.”177

            93.          Other pharmaceutical companies also gained the knowledge disclosed in Dr.

Simmons’s April 1991 paper, and Dr. Simmons gave a related presentation at the April 1991

FASEB conference noted earlier.178 But despite that general knowledge, no other pharmaceutical

company was looking for a COX-2 selective inhibitor in 1991.179

            94.          In fact, after listening to Dr. Simmons’s presentation at the April 1991 FASEB

conference, at least one prominent researcher, Dr. Dave DeWitt from the University of

Michigan, still believed, based on his own research work, that there was only a single COX

gene.180

            95.           Dr. Simmons’s presentation at the 1991 FASEB conference did motivate one

scientist, Dr. Randy Bell, then working for Abbot Labs, a large pharmaceutical company, to try

and convince Abbot management to start a COX-2 program.181 But Abbot, after learning that

prominent researcher Dr. DeWitt still believed there was only a single COX gene, was not

interested in moving forward with such a program despite Dr. Simmons’s publically-presented




175
    J. Mancini Dep., 7 Nov 11, Ex. 32 at 349:14-20.
176
    K. Seibert Dep., 1-3 Jun 10, Ex. 3 at 817:2-9.
177
    Id. at 819:3-13.
178
    R. Bell Dep., 29 Sep 11, Ex. 138 at 437:16-22.
179
    J. Mancini Dep., 7 Nov 11, Ex. 32 at 56:8-57:1.
180
    R. Bell Dep., 29 Sep 11, Ex. 138 at 438:1-439:3.
181
    Id. at 437:16-438:10.


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findings.182 At the time, of course, Dr. Simmons was not a “known name” in the cyclooxygenase

world.183

            96.          As Pfizer’s own expert, Dr. Joseph Mancini agreed, “before senior management

of a company is going to devote resources to a project, they need to have a body of

information that’s sufficiently convincing to them that they should shift those resources to that

project…”184

                         2.           After receiving Dr. Simmons’s information and materials, Monsanto
                                      changed the nature of its inflammation research, and begin looking
                                      for an improved NSAID.

            97.          Although Monsanto had no COX-2 program in 1990, that changed after Monsanto

received Dr. Simmons’s “body” of “convincing” information and materials in 1991:

                         Dr. Seibert initiated the COX-2 program at Searle/Monsanto in
                         1991, an effort which led to the identification and successful
                         commercialization of the first COX-2 inhibitor, Celebrex.185

            98.          By early 1992, Monsanto had begun shifting resources away from its DIP project,

and “began actively testing compounds in search of a selective COX-2 NSAID in early 1992.”186

            99.          On 8-11 January 1992, many scientists involved in COX research, including Dr.

Simmons and Monsanto’s Drs. Seibert and Krivi, attended a cyclooxygenase-related meeting in

Keystone, Colorado (the “Keystone Conference”).187 There they attended a presentation by Dr.




182
    Id. at 438:1-439:9.
183
    Id. at 439:4-9.
184
    J. Mancini Dep., 7 Nov 11, Ex. 32 at 108:24-109:11.
185
    Queeny Award Nomination, 17 Sep 99, Ex. 88 at BYU-PFE-651625.
186
    S. Prescott Expert Rpt., 18 Feb 11, Ex. 33 at ¶¶ 183-191, quoting Cyclooxygenase Inhibitor
Project Report, 15 Jun 92, BYU-PFE 144564-591, Ex. 205 (see fax header on page three for
date).
187
     D. Simmons Dep., Univ. of Rochester v. G.D. Searle, 16 Jul 02, 152:7-20, BYU-PFE
1200033, Ex. 17 at 151:19-152:4; Dep. of K., Seibert, Pfizer v. Teva, 11 Jan 06, 188:20-189:22,
Ex. 18 at BYU-PFE 684464.


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William Galbraith of DuPont, who presented a compound, DuP-697, as a pain reliever that did

not cause gastric problems.188 Dr. Seibert took notes on his presentation.189

            100.         In a July 1990 paper, a year and a half prior to the Keystone conference, DuP-697

had been reported as a drug that was potent yet gastric sparing, but because Dr. Simmons’s

COX-2 discovery had not yet been reported, pharmaceutical companies in 1990 did not have the

necessary information to understand that DuP-697 was a selective COX-2 inhibitor.190

Monsanto’s interest in DuP-697 came only after the Research Agreement with BYU and after

receiving Dr. Simmons’s reagents and information.191

            101.         On 7 February 1992, Monsanto’s Dr. Masferrer began testing for COX-2 selective

NSAIDs using a two-enzyme assay approach that Simmons had described to Monsanto, and that

Monsanto had developed and characterized using BYU/Simmons’s antibodies and information:

IL-1 induced human fetal fibroblast (HFF) cells for COX-2, and sheep seminal vesicle (SSV)

cells for COX-1.192

            102.         On 3 March 1992, Monsanto’s Dr. Len Lee synthesized DuP-697.193

            103.         Only days later, on 6 March 1992, Monsanto, using the two-cell assay described

above that had been developed and characterized using Dr. Simmons’s confidential information,

screened DuP-697 in HFF and SSV.194 The results of the experiment showed that DuP-697




188
    D. Simmons Dep., Univ. of Rochester v. G.D. Searle, 16 Jul 02, 152:21-153:13, Ex. 17 at
BYU-PFE 120033.
189
    K. Seibert Personal Notebook No. 10, Jan 92, BYU-PFE 177387-494 at 472, Ex. 59.
190
    J. Dellaria Expert Rpt., 18 Feb 11, Ex. 198 at ¶ 1.
191
    Id. at ¶ 3.
192
    S. Prescott Expert Rpt., 18 Feb 11, Ex. 33 at ¶ 260.
193
    L. Lee Monsanto Notebook No. 5,045,901 at 910, 3 Mar 92, PFC00637948, Ex. 20.
194
    J. Masferrer Monsanto Notebook No. 5,043,201 at 215, 6 Mar 92, PFC01550744, Ex. 21.


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inhibited COX-2 more than COX-1, validating DuP-697 as a lead compound that Monsanto

could modify to develop its own patentable, COX-2 selective inhibitor.195

            104.         Prior to the collaboration with BYU, Monsanto could not have conducted such a

test because, as Pfizer expert Dr. Mancini acknowledged, prior to the collaboration with BYU, he

is not aware that Pfizer “had a testing system in place that would test for COX-2 selectivity over

COX-1 selectivity.”196

            105.         Use of that testing system led to an 18 March 1992 Len Lee invention disclosure

form, which represented “multiple compounds” that Monsanto had determined were COX-2

selective.197

            106.         By at least 20 February 1992, Monsanto had an “immediate plan to test the

selective COX inhibitor hypothesis.”198

            107.         By 18 March 1992, Monsanto chemist Dr. Len Lee had modified DuP-697 and

come up with numerous potentially-patentable compounds that he believed would act as

“antiinflammatory agents” by inhibiting COX-2.199

            108.         On 24 March 1992, Monsanto’s Dr. Seibert e-mailed Dr. Needleman to advise

him that, by testing DuP-697 using a two-cell system involving both “FIB” and “SSV,”

Monsanto scientists had “proven that it is a dynamite compound.”200




195
    Id.
196
    J. Mancini Dep., 7 Nov 11, Ex. 32 at 344:21-345-13.
197
    A. Stevens Dep., 26 Oct 11, 215:17-19, Ex. 121; Disclosure of Invention, 24 Jun 92, BYU-
PFE-STL 0202649, Ex. 70.
198
    Agenda for the COX Inhibitor Meeting, 20 Feb 92, BYU-PFE429853-55, Ex. 202.
199
    Disclosure of Invention by L. Lee, 24 Jun 92, BYU-PFE-STL 0202649, Ex. 70.
200
    Email to P. Needleman from K. Seibert, 24 Mar 92, S00664784, Ex. 42 (emphasis added).


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            109.         Pfizer expert Mancini testified that he understood the FIB vs. SSV to mean “a

system where the human fetal fibroblast cells are producing COX-1 and the SSV tissue is

producing COX-2.”201

            110.         By no later than 15 June 1992, Monsanto’s “specific aim” was the “development

of anti-inflammatory agents that act through selective inhibition of the inducible/inflammatory

cyclooxygenase enzyme resulting in greater efficacy and less toxicity associated with traditional

NSAIDs or glucocorticoid therapy.”202

            111.         Moreover, Monsanto understood that it needed to work quickly and devote

significant resources to the COX-2 project; in Dr. Needleman’s words:

                         I want us to get there fast with the best people. This is a horse
                         race Monsanto/Searle should not lose. I believe there are several
                         generations of product activities and want to see us mobilize both
                         shops around the problem.203

            112.         As a 23 July 1992 e-mail from Monsanto’s Dr. Seibert explained, Monsanto had

only begun actively screening for a COX-2 selective NSAID after the Research Agreement with

BYU.204 Seibert reported that “significant interest in identifying a selective inducible COX

NSAID has emerged … Thus we have in the last 6 months built both a DIP Hit and a COX

INHIB. Hit list.…”205




201
    J. Mancini Dep., 7 Nov 11, Ex. 32 at 337:18-22.
202
    P. Needleman Dep., 17-18 Nov 10, Ex. 84 at 265:13-14l; see also Cyclooxygenase Inhibitor
Project Report, 16 Jun 92, BYU-PFE 144564-591, Ex. 205 (see fax header on page three for
date).
203
     Email to P. Isakson from P. Needleman, 26 Jun 92, Needle-P 10000013898, Ex. 230
(emphasis added).
204
    S. Prescott Expert Rpt., 18 Feb 11, Ex. 33 at ¶ 193.
205
    Email to P. Needleman from K. Seibert, 23 Jul 92, PFC00663321-322, Ex. 231.


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            113.         Although Monsanto for a time actively pursued both steroid-like and NSAID

mechanisms of action for a selective compound, the COX-2 selective NSAID project soon

overtook Monsanto’s DIP project.206

            114.         By July 1992, Monsanto’s Dr. Isakson was appointed as the “head of the Cox-2

project team.”207 As he testified:

                         It was clear that the Cox project was to be a major undertaking for
                         Monsanto and would need to be resourced accordingly.208

            115.         As a 24 July 1992 Monsanto email indicates, Monsanto referred to its COX-2

project as the “Manhattan project,” and “COX-2 [was] the clear primary target.”209

                         I believe that a clear policy to direct our s/ASP resources towards
                         the COX-2 Manhattan project, and keep DIP as background
                         would be the most effective use of these efforts.210

            116.         As BYU expert Dr. Dellaria has stated: “Accurately recognizing the significance

of the [COX-2] program was only possible through the materials and expertise provided by

Simmons.”211 Furthermore:

                         It is my opinion that Monsanto moved unusually fast in shifting
                         resources to its COX-2 project, indicating a strong belief in
                         Monsanto management that the COX-2 project had sound
                         fundamentals (target, assays, lead compound) which were brought
                         by BYU and Simmons or in the case of the target, identified
                         through the use of information and biological reagents supplied in
                         the collaboration.212




206
    S. Prescott Expert Rpt., 18 Feb 11, Ex. 33 at ¶ 190.
207
    P. Isakson Witness Statement, 23 Aug 99, ¶ 32, Ex. 99 at BYU-PFE 018587.
208
    Id. at ¶ 33.
209
     As the Court is doubtless aware, the “Manhattan project” was the massive research and
development program instituted in the 1940s to develop the atomic bomb as quickly as possible.
210
    Email to P. Needleman from K. Seibert, 23 Jul 92, PFC00663321-322, Ex. 231.
211
    J. Dellaria Expert Rpt., 18 Feb 11, Ex. 198 at ¶ 12.
212
    Id. at ¶ 13.


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            I.           Monsanto Changed Its Drug Research Program By Using Directly Using Dr.
                         Simmons’s Confidential Biological Materials And Information.

                         1.           Monsanto’s misappropriation of Dr.           Simmons’s      confidential
                                      biological materials and information.

            117.         As noted, on 29 April 1991, Dr. Simmons sent Drs. Seibert and Masferrer his

mouse COX-1 and COX-2 cDNA clones and chicken COX-2 antibodies.213 Dr. Simmons also

gave Drs. Seibert and Masferrer handwritten instructions on how to use these materials.214

            118.         Dr. Seibert admitted that BYU’s COX-2 antibodies were the only existing COX-2

antibodies in the world as of 29 April 1991,215 and that BYU possessed the only paired COX-1

and COX-2 clones from a single species as of 29 April 1991.216 She also admitted that even as

late as 24 March 1992, almost a year after receiving BYU’s mCOX-1 and mCOX-2 cDNA

clones, she still found them “useful.”217 Dr. Seibert admitted that she continued to regularly use

Dr. Simmons’s confidential materials through at least the end of 1992. As Dr. Seibert testified:

                         Q.           From the time you received Dr. Simmons’ reagents as
                                      recorded in the April 29, 1991, letter through the end of
                                      1992, I see from your laboratory notebooks that you
                                      conducted a number of experiments with those reagents; is
                                      that correct?

                         A.           Yes, sir.218

            119.         On 10 June 1991, Dr. Seibert sent Dr. Simmons a fax which described the value

of the biological tools Dr. Simmons had provided:

                         Dan—a quick story I want to finish and now we have the tools; …
                         We always believed we had the wrong clone to see regulation—I
                         hope your COX II sees the change….219


213
    Ltr. to K. Seibert and J. Masferrer from D. Simmons, 29 Apr 91, BYU-PFE 059332, Ex. 15.
214
    Id.
215
    K. Seibert Dep., 1-3 Jun 10, Ex. 3 at 360:6-14.
216
    Id. at 359:23-360:5.
217
    Id. at 523:20-524:1.
218
    Id. at 149:23-150:4.


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            120.         Upon receiving Dr. Simmons’s clones and antibodies, Drs. Seibert and Masferrer

immediately began using these biological reagents in their laboratory research.220 When asked to

what extent Monsanto had used BYU’s antibodies or cDNA clones, Pfizer expert Dr. Mancini

testified that “I believe [Pfizer] used the antibody for looking at the IL 1 fetal fibroblast trying to

look for a COX-2 expression in those.”221 He further testified that “immunoprecipitation assays

were done on synoviocytes with [BYU’s] mCOX-2 antibodies.”222 He further testified that Pfizer

used “DNA probes [from] Dr. Simmons’ mCOX-1 and mCOX-2” to characterize cell systems.223

            121.         Dr. Seibert testified that research done with Dr. Simmons’s biological reagents

was for Pfizer’s own purposes and not to further the cooperative effort:

                         Q.           Did you understand that the – that the experiments that you
                                      were conducting in 1991 and 1992 [using Dr. Simmons’s
                                      reagents] were done for the purpose of furthering
                                      Monsanto’s cooperative agreement with Brigham Young
                                      University?

                         A.           No, I –I didn’t understand that.224

            122.         Dr. Seibert further testified that she was not aware of “any restrictions in the

contractual agreement between BYU and Monsanto on the use of information that Monsanto

received from Brigham Young,”225 nor did she recall that she was told by anybody that “there

was any restriction in the contractual agreement between BYU and Philip Needleman on the use

of information that Monsanto received from Brigham Young University.”226




219
    Fax from K. Seibert to D. Simmons, 10 Jun 91, Ex. 30, BYU-08-0822.
220
    K. Seibert Dep., 1-3 Jun 10, Ex. 3 at 149:23-150:4.
221
    J. Mancini Dep., 7 Nov 11, Ex. 32 at 317:6-8.
222
    Id. at 318:20-24.
223
    Id. at 319:19-23.
224
    K. Seibert Dep., 1-3 Jun 10, Ex. 3 at 149:17-151:1.
225
    Id. at 151:11-18.
226
    Id. at 151:19-152:3.


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            123.         On 29 October 1991, Dr. Needleman represented to a third party collaborator that

“[t]hese tools [including the clones and antibodies received from Dr. Simmons] … provide key

information on the possible selective regulation of COX-1 vs. COX-2....”227 In commenting on

this statement, Dr. Seibert testified that Dr. Needleman is “a very accomplished scientist. And

he recognizes that tools like antibodies and probes are going to be valuable in advancing the

science.”228

            124.         Pfizer expert Mancini testified that as of 1991, he knew of no pharmaceutical

company “other than Monsanto who [was] involved in efforts to find a COX-2 selective

inhibitor.”229 Likewise, Pfizer expert Ron Woodard stated in his report that companies other

than Merck and Pfizer did not begin COX-2 projects until the mid to late 1990’s.230 As BYU

expert Randy Bell has stated, as a generality,: “Companies without access to BYU/Simmons

tools and information … did not start a COX-2 program.”231

                         2.           Monsanto used Dr. Simmons’s antibodies to do extensive research.

            125.         Beginning on 23 May 1991, Monsanto’s Jaime Masferrer conducted scientific

experiments with the BYU antibodies delivered on 29 April 1991. Dr. Masferrer performed what

are known as immunoprecipitation experiments (“IPs”) using BYU’s COX-2 antibodies.232 On

that date, Dr. Masferrer conducted an IP on neonatal cells with BYU’s chicken COX-2

antibodies.233 The purpose of conducting an IP is to determine how much COX-2 protein is



227
    Ltr. to A. Raz from P. Needleman, 29 Oct 91, BYU-PFE 142964, Ex. 232.
228
    K. Seibert Dep., 1-3 Jun 10, Ex. 3 at 489:12-17.
229
    J. Mancini Dep., 7 Nov 11, Ex. 32 at 56:8-57:1.
230
    R. Woodard Expert Rpt., 25 Jul 11, ¶ 65, Ex. 71; R. Woodard Dep., 11 Oct 11, 129:11-13, Ex.
214.
231
    R. Bell Expert Report, 18 Feb 11, Ex. 47 at ¶ 70.
232
     S. Prescott Expert Rpt., 18 Feb 11, Ex. 33 at ¶ 196; J. Masferrer GJ Binder, BYU-UR
000018203-217, Ex. 34.
233
    Id.


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found in a biological sample.234 As Pfizer expert Timothy Hla has explained, an IP is a process

where a researcher mixes an antibody with a cell or tissue extract.235 In this case, Dr. Masferrer

used the anti-COX-2 antibodies provided by BYU.236 “Then to isolate the anti-COX-2

antibody/COX-2 protein complex, a protein (protein A or protein G) linked to Sepharose beads

are added and this is used to physically pull out the complex. To quantify the amount of COX-2

protein, often the cell or tissue extract has been radiolabeled with a radioactive amino acid,” and

the amount of radioactive COX-2 is then measured.237

            126.         On 25 July, Monsanto used the purified protein provided by BYU on 24 July to

improve the results from its IP experiments.238 According to BYU expert Steven Prescott, the IP

performed on 25 July, like the one on 23 May, shows that the chicken COX-2 antibody is COX-2

selective.239 When questioned about this experiment, Pfizer expert Mancini testified that he “had

a difficult time demonstrating or trying to follow that there was a selective COX-2 antibody that

was provided by Simmons for use by Monsanto,” in part “because the photocopies that [he] was

provided weren’t very good.”240

            127.         In addition, in July 1991, Monsanto used the amino acid sequences provided by

Dr. Simmons on 16 July to begin making its own COX-1 and COX-2 specific antibodies. First,

the amino acid sequences were used to make peptides to unique regions of the COX-1 and COX-

2 protein respectively.241 Those peptides were then injected into rabbits, and the natural reaction



234
    T. Hla Expert Rpt., 20 Jul 11, ¶ 86, Ex. 35.
235
    Id. at ¶ 88.
236
     S. Prescott Expert Rpt., 18 Feb 11, Ex. 33 at ¶ 196; J. Masferrer GJ Binder, BYU-UR
000018203-217, Ex. 34.
237
    T. Hla Expert Rpt., 20 Jul 11, Ex. 35 at ¶ 88.
238
    J. Masferrer GJ Binder, Ex. 34 at BYU-UR 000018209.
239
    Id.
240
    J. Mancini Dep., 7 Nov 11, Ex. 32 at 317:19-23.
241
    D. Simmons Decl., 17 Jun 11, Ex. 5 at ¶ 12.


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of the rabbits to the injection of the peptides was to create antibodies.242 Among the antibodies

created were ones termed 537 (COX-1), 538 (COX-1), 539 (COX-2) and 540 (COX-2).243

            128.         Pfizer expert Joseph Mancini, when asked whether in 1991 any other drug

company was motivated to develop COX-1 and COX-2 antibodies like Monsanto had done,

testified that “I don’t know if there was another company working on developing mouse COX-2

and COX-1 antibodies at that time.”244

                         3.           Monsanto also used Dr. Simmons’s mouse COX-1 and COX-2 clones
                                      to do Northern Blots.

            129.         A Northern Blot is “a common technique [researchers] used in that time

frame.”245

            130.         Dr. Seibert testified that the purpose of a Northern Blot was “to separate RNAs to

measure their size and abundance.”246 Dr. Seibert testified that she performed them because she

was “hoping to advance the hypothesis” that “the COX, which is induced at the level of protein,

we could observe at the level of RNA directly,”247 which would further “the original

hypotheticals around two forms of cyclooxygenase, advancing the science.”248

            131.         She did not perform Northern Blots “where you probed RNA using fragments of

COX-1 and COX-2 cDNA” before June of 1991, because “the probe that [she] was using at the

time was the sheep seminal vesicle probe, which we now know is the COX-1 cDNA.”249




242
    Id.
243
    J. Masferrer Personal IP Notebook, PFC00320759, Ex. 233.
244
    J. Mancini Dep., 7 Nov 11, Ex. 32 at 321:23-322:1.
245
    S. Hauser Dep., 27 Oct 10, Ex. 37 at 85:8-9.
246
    K. Seibert Dep., 1-3 Jun 10, Ex. 3 at 388:18-389:1.
247
    Id. at 389:5-12.
248
    Id. at 389:13-17.
249
    Id. at 389:18-390:1.


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            132.         The first time she “had the ability to do the Northern Blot directly with those

cDNAs” was after receiving Dr. Simmons’s cDNA for mouse COX-1 and mouse COX-2.250

                         4.           Monsanto also used Dr. Simmons’s mouse COX-1 and COX-2 clones
                                      to create biological “probes” to create cellular assays.

            133.         On 10 September 1991, Dr. Seibert sent a facsimile to Scott Hauser. In that

transmission, Dr. Seibert stated:

                         Very briefly, we are interested in characterizing the regulation of
                         the cyclooxygenase enzyme – the enzyme that is responsible for
                         production of the prostaglandins. There appear to be two forms of
                         COX—a basal, unstimulated COX-1 and a cytokine—inducible
                         COX-2. We now have cDNAs for both of these COX enzymes
                         from the mouse—our goal is to design specific oligo primers
                         [DNA probes] that will selectively recognize only COX1 vs COX2
                         to examine regulation of those enzymes.

Dr. Seibert goes on to request Hauser’s assistance in “designing those oligos” and “helping me

set up protection assays using them.”251 Finally, Dr. Seibert notes that “[w]e would like to try to

express the two cDNAs [COX-1 and COX-2] and examine if they really make PGS or not.”252

            134.         Monsanto’s expert Mancini testified that “a probe is a small section of the

cDNA.”253 When Mancini worked at Merck, Merck developed probes “internally because then

[they’d] know exactly what [they] had.”254

            135.         Thereafter, on 24 September 1991, Dr. Seibert reported to Dr. Needleman that

“our strategy to develop selective cDNA probes” was “already underway at Chesterfield – I’m

doing it with Scott Hauser out there.”255




250
    Id. at 388:18-390:19.
251
    Fax to S. Hauser from K. Seibert, 10 Sep 91, S01431882-886, Ex. 38.
252
    Id.
253
    J. Mancini Dep., 7 Nov 11, Ex. 32 at 249:24-250:1.
254
    Id. at 250:19-22.
255
    Email from K. Seibert to P. Needleman, 24 Sep 91, BYU-PFE 651078, Ex. 39.


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            136.         Scott Hauser, who worked with Dr. Seibert on the effort to develop these probes,

testified at deposition that “Karen used” BYU’s “cDNA for COX-1 and COX-2 to … design

selective probes for COX-1 and COX-2.”256 The purpose of the probes was to “target mouse

RNA for regulation by solution hybridization.”257

            137.         What Dr. Seibert was trying to do was to “utilize sequences which would be

unique to COX-1 or 2 and build probes that were selective or unique to those, that would then be

able to go in and very specifically measure RNA derived from COX-1 and COX-2.”258

            138.         By the end of November, 1991, Dr. Seibert was successful in placing the unique

sections of Dr. Simmons’s COX-1 and COX-2 cDNA’s into vectors for use as probes for

nuclease protection assays.259 Those vectors were then used in “RNase protection assays, which

could very specifically measure RNA derived from COX-1 or COX-2.”260 And all of that work

was performed “using Dan Simmons’ COX-1 and COX-2 as the starting point.”261 Ultimately,

these probes, according to Hauser, “were then also used for looking at COX-1 and COX-2

regulation in other cells and tissues.”262

            139.         As Dr. Seibert testified, once Pfizer received BYU’s COX-1 and COX-2 cDNA’s,

“we had the tools in place to conduct these experiments.”263




256
    S. Hauser Dep., 27 Oct 10, Ex. 37 at 141:8-14.
257
    Id. at 141:21-142:10.
258
    K. Seibert Dep., 1-3 Jun 10, Ex. 3 at 428:2-6.
259
    K. Seibert Monsanto Notebook No. 4,956,601 at 604-605, PFC1549662, Ex. 40; K. Seibert
Monsanto Notebook No. 4,956,501 at 577-581, PFC01549436-644, Ex. 41; S. Hauser Dep., 27
Oct 10, Ex. 37 at 142:11-145:3.
260
    K. Seibert Dep., 1-3 Jun 10, Ex. 3 at 428:16-23; S. Hauser Dep., 27 Oct 10, Ex. 37 at 144-17-
23.
261
    S. Hauser Dep., 27 Oct 10, Ex. 37 at 144:24-145:3.
262
    Id. at 144:4-10.
263
    K. Seibert Dep., 1-3 Jun 10, Ex. 3 at 438:12-13.


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                         5.           Using Dr. Simmons’s mouse COX-1 and COX-2 clones, Monsanto
                                      created eukaryotic expression vectors that it used to advance its drug-
                                      testing program.

            140.         An expression vector permits “recombinant expression of a protein” in cells.264

One purpose of expressing protein in cells is to “look at its pharmacology.”265 In the context of

the COX-2 program at Monsanto, “pharmacology” (according to Dr. Seibert) means to “test

various compounds on the COX-1 and COX-2 expression system to—to look for compounds

which may inhibit one of the COX enzymes and not the other.”266

            141.         As noted above, one specific element of Dr. Simmons’s COX-2 research plan was

that “murine COX-1 and COX-2 will be placed in eukaryotic expression vectors for over-

expression in eukaryotic cells,” thus allowing “large amounts” of COX-1 and COX-2 to be

expressed.267

            142.         When Dr. Seibert was asked if her experiments to put BYU’s paired mCOX-1 and

mCOX-2 clones into expression vectors was to permit Monsanto to perform drug testing, she

answered: “I think having them in an expression vector would allow us to do some

pharmacology, yes.”268

            143.         At his deposition, Dr. Hauser confirmed that Dr. Seibert successfully placed (or

“subcloned” the coding region of Dr. Simmons’s mCOX-1 and mCOX-2 cDNA clones into

expression vectors.269

            144.         With regard to the mouse COX-1 enzyme received from BYU, Dr. Seibert

admitted that she was able to “express” that enzyme.270



264
    S. Hauser Dep., 27 Oct 10, Ex. 37 at 222:6-7.
265
    K. Seibert Dep., 1-3 Jun 10, Ex. 3 at 170:10-18.
266
    Id. at 469:21-480:4.
267
    Research Agreement, Appendix A at A-1, 1 Aug 91, Ex. 9 at BYU-11-0125.
268
    K. Seibert Dep., 1-3 Jun 10, Ex. 3 at 436:18-437:8.


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            145.         When Scott Hauser asked whether he was aware at Monsanto of “any of Dr.

Simmons’ clones being placed in an expression vector for the purpose of expressing COX-2,” he

said “yes.”271

            146.         Monsanto manuscripts submitted to prestigious scientific publications, including

Science and Nature, describe that “[t]he coding regions of mouse COX-1 and COX-2 (gifts of

Dr. Dan Simmons, Brigham Young University) were subcloned into the baculovirus expression

vector pVL1393.”272 And Dr. Needleman confirmed that this document showed the expression of

mCOX-2 from BYU’s materials.273

            147.         Monsanto’s Scott Hauser testified that other employees of Monsanto used the

vectors he and Dr. Seibert created to conduct experiments to express COX-1 and COX-2 in

cells.274        A slide presentation dated “July 92” described that “protein expression [was] in

progress,” referring to the “isolation and expression of COX-1 and COX-2.”275 Dr. Seibert’s

files indicate that by 18 July 1992 Monsanto had used expression vectors to successfully express

BYU’s mouse COX-1 and COX-2 clones.276 A 6 August 1992 document also indicates that the

mouse COX-1 and COX-2 clones had been successfully expressed.277 Monsanto did not receive

a mouse COX-2 clone from another source until 24 August 1992.278




269
    S. Hauser Dep., 27 Oct 10, Ex. 37 at 172:11-25; 174:6-20.
270
    K. Seibert Dep., 1-3 Jun 10, Ex. 3 at 171:8-12.
271
    S. Hauser Dep., 27 Oct 10, Ex. 37 at 233:22-234:4.
272
    Ltr. to Nature Magazine from K. Seibert with Manuscript, 5 Jan 94, Ex. 173 at PFC-1215344-
362.
273
    P. Needleman Dep., 17-18 Nov 10, Ex. 84 at 424:7-425:5.
274
    S. Hauser Dep., 27 Oct 10, Ex. 37 at 175:1-176:15.
275
    COX-2 Meeting, Jul 92, Ex. 234 at PFC01214241; J. Masferrer 30(b)(6), 26 May 11, Ex. 85
at 125:4-10.
276
    COX Inhibitor Project Report, 18 Jul 92, BYU-PFE 409810, Ex. 235.
277
    Critical Path to Recombinant COX Enzymes, 6 Aug 92, BYU-PFE 409811, Ex. 236.
278
    K. Seibert Notebook No. 4,956,601 at 690, 24 Aug 92, Ex. 40 at PFC01549856.


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            148.         According to Monsanto, it was “the in vitro recombinant enzyme based screening

assay that provided all of the basic structure activity data for Searle’s COX-2 inhibitors.”279

                         6.           There is no dispute that the only mouse COX-1 clone that Monsanto
                                      ever used in its drug testing came from Dr. Simmons.

            149.         Monsanto admits that:

                         [i]n 1992, Dr. Seibert asked a Monsanto co-worker to provide a
                         eukaryotic expression vector containing the cDNA for COX-1. …
                         [S]ince Professor Simmons’ clones of COX-1 was handy, the co-
                         worker used it for his PCR work in order to amplify the COX-1
                         gene. The requisite vector was created and mCOX-1 was
                         thereafter expressed in insect cells by Monsanto.280

            150.         Dr. Seibert testified in her deposition that Monsanto did not have a source of

mCOX-1 other than that obtained from BYU at any time.

                         Q.           Before we go to that, other than Dan Simmons’ mCOX-1
                                      cDNA, did you in any of the work you did at Monsanto or
                                      at Washington University have any other source of mCOX-
                                      1 cDNA?

                         A.           Not that I recall.

                         Q.           And I’m referring to at any time.

                         A.           And not that I recall.281

            151.         Dr. Seibert further testified:

                         Q.           In 1991, do you know a publicly available source of – did
                                      you know of a publicly available source of mouse COX-1
                                      cDNA?

                         A.           I don’t – I don’t recall

                         Q.           You don’t recall –

                         A.           I–



279
    Id.
280
    Ltr. to D. Thomas from D. Hoscheit, 17 May 00, BYU-STL-0138208-210, Ex. 157.
281
    K. Seibert Dep., 1-3 Jun 10, Ex. 3 at 417:17-24.


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                         Q.           -- any publicly available source?

                         A.           I don’t recall any – any source.282

            J.           Other Than Monsanto And Merck, No Other Pharmaceutical Company Had
                         A COX-2 Program By 1992, And No Other Company Succeeded In Bringing
                         A COX-2 Drug To Market.

            152.         In the opinion of BYU’s expert Dr. Prescott, the body of information and

materials that Dr. Simmons shared with Monsanto gave it a head start, a “competitive

advantage,” of at least a year over other pharmaceutical companies.283 Prior to the middle of

1992, Monsanto was the only pharmaceutical company in the world looking with a COX-2

inhibitor program.284

            153.         As the Senior Director of Medicinal Chemistry for Merck testified in a witness

statement, prior to June 1992, “nobody within Merck had attempted to develop a COX-2

selective inhibitor.”285

            154.         Merck did not begin a COX-2 program until July 1992,286 and according to Pfizer

expert Dr. Woodard, other pharmaceutical companies only began looking for COX-2 inhibitors

in the “mid to late 1990’s…”287

            155.         The Keystone Conference in January 1992 did not motivate Merck to begin

looking for COX-2 inhibitor; rather, it was only after a July 1992 prostaglandin conference in

Montreal that Merck became “very excited” about the possibility of developing a COX-2




282
    K. Seibert Dep., 1-3 Jun 10, Ex. 3Ex. at 418:10-22.
283
    Expert report of S. Prescott, 18 Feb 11, Ex. 33 at p. 3.
284
    R. Woodard Dep., 11 Oct 11, at 128:2-129:19.
285
    First Witness Statement of P. Prasit, 23 Aug 99, ¶ 6, BYU-PFE 039030-042, Ex. 237.
286
    J. Mancini Dep., 7 Nov 11, Ex. 32 at 31:13-22.
287
    R. Woodard Dep., 11 Oct 11, Ex. 214 at 128:2-129:19.


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inhibitor.288 It was not until August 1992 that Merck actually tested a compound for COX-2

selectivity, thus several months after Monsanto had begun testing compounds for such.289

            156.         As Monsanto’s Dr. Needleman has said, “In drug development, time really is

money,” so that, as regards an “average” drug:

                         for each day that development is accelerated, there is $1 million
                         added to the company’s sales figure. For Celebrex, this could
                         approach $10 million per day.290

            157.         According to Dr. Randy Bell, a BYU expert and a former scientist at the global

pharmaceutical company, Abbot Laboratories, other pharmaceutical companies did not begin

looking for a COX-2 selective inhibitor as early as Monsanto because other pharmaceutical

companies did not have access to the “package” of information and materials that Dr. Simmons’s

provided Monsanto.291 Dr. Bell testified that, before 1995, there was a lot of “noise” in the

literature relating to COX, “noise” meaning “conflicting opinions, conflicting ideas, conflicting

hypotheses.”292

            158.         He further testified that a pharmaceutical manager’s job was to look at the data,

“to pick that apart,” and to determine whether there was “a complete enough package” of

information to justify putting resources into an idea.293 And because the rest of the industry did

not have access to Dr. Simmons’s “incredibly valuable” package of materials and information,




288
    First Witness Statement of P. Prasit, 23 Aug 99, Ex. 237 at ¶¶ 7-8, BYU-PFE 039030-042;
see also J. Mancini Dep., 7 Nov 11, Ex. 32 at 84:23-87:23.
289
    First Witness Statement of P. Prasit, 23 Aug 99, Ex. 237 at ¶¶ 9-10, BYU-PFE 039030-042.
290
    P. Needleman, “From A Twinkle In The Eye To A Blockbuster Drug,” BYU-PFE 831913-
916 at 914, Ex. 83.
291
    R. Bell Dep., 29 Sep 11, Ex. 138 at 72:7-73:14.
292
    Id. at 67:4-68:5.
293
    Id. at 72:7-73:5.


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                         The rest of the industry had to hunt through various papers, some
                         of them conflicting, some of them – many of them incomplete,
                         over several years to really get a good feel.294

            159.         Hence, Dr. Bell testified, “at Abbot, we didn’t have a really good feel that this

was a valuable target – that it was a target that we could approach into the 1993-’94 range.”295

And not until 1995 did Abbot actually begin looking for a COX-2 selective compound, because

not until then could Dr. Bell “convince management that we had what we needed to go forward

with the project at Abbott.”296

            160.         By that time, however, Monsanto already had numerous patents on COX-2

selective compounds—what Dr. Bell referred to as a “huge patent wall,” and there weren’t very

many chemical leads to finding any selectivity” in the remaining options.297 So Abbot never got

a “clinical candidate” for a COX-2 compound.

            161.         Dr. William Galbraith was a scientist at DuPont Merck in the 1990s, and the one

who gave the January 1992 presentation about DuP-697 at the Keystone conference.298 Yet he

testified that his company could not prove DuP-697 was COX-2 selective because it did not have

access to COX-2 cDNA clones or reagents that would allow scientists to verify cell lines

producing uniquely COX-1 or COX-2.299

            162.         Because DuPont Merck did not have access to COX-2, after the Keystone

meeting, it was not in a position to establish DuP-697’s “mechanism of action” and was not able




294
    Id. at 73:7-10.
295
    Id. at 73:11-14.
296
    Id. at 288:12-298:1.
297
    Id. at 289:2-291:4.
298
    Aff’t of William Galbraith, 4 Jun 98, BYU-UR 000029015-035.
299
     W. Galbraith Dep., 23 Sep 11, Ex. 185 at 107:23-115:10; 117:1-117:14; 134:22-135:15;
161:20-23; 176:6-12; First Witness Statement of W. Galbraith, 23 Aug 99, BYU-PFE 022011-
052, Ex. 60.


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to establish a “proof of principle.”300 Hence after the Keystone Conference, DuPont Merck

“greatly reduced” the resources that it put on DuP-697.301

            163.         Dr. Galbraith also confirmed that if he had access to COX-1 and COX-2

antibodies, he would have used them to know what tissues produce COX-1 or COX-2.302

            164.         Dr. Galbraith agrees with Dr. Mancini that the more information a pharmaceutical

company has on a potential project, “the more likely the company is going to spend money on it”

because “[t]he company is in business to make a drug that’s going to help people and make

money for the company.”303

            165.         Other than Monsanto (and Merck for the short time it was able to sell Vioxx) no

other pharmaceutical company was able to successfully bring a COX-2 selective drug to

market.304

            166.         Through the end of 2010, Pfizer had sold more than $30 billion of Celebrex and

its other COX-2 inhibitor NSAIDs.305




300
    W. Galbraith Dep., 23 Sep 11, Ex. 185 at 265:2-268:17.
301
    Id. at 262:10-18.
302
    Id. at 270:19-271:22.
303
    Id. at 190:13-191:9.
304
    Expert Report of E. Lentz, 18 Feb 11, Ex. 25, at p. 63-64.
305
    Expert Report of R. Gering, 18 Feb 11, Ex. 8, at p. 78 and his Ex. 4.2. (Gering states that,
through 28 February 2010, the actual sales of just Celebrex were $29.5 billion, plus an
additional $3 billion of Bextra and Dynastat).


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                                                              LEGAL ARGUMENT

I.          SUMMARY JUDGMENT STANDARD.

            “Summary judgment is a drastic remedy,” and the Tenth Circuit cautions that “any relief

pursuant to Fed.R.Civ.P. 56 should be awarded with care.”306 As that court stated: “Unless the

moving party can demonstrate his entitlement beyond a reasonable doubt, summary judgment

must be denied.” Id. The court should “examine the record to determine if any genuine issue of

material fact” is in dispute, and in doing so should “view the evidence and draw reasonable

inferences therefrom in the light most favorable to the nonmoving party.”307

            “Trade-secret status is a question of fact,” and if there are “doubts as to the existence of

triable issue of fact,” those doubts “must be resolved in favor of the existence of triable

issues.”308

II.         BYU HAS SUFFICIENTLY IDENTIFIED A COMPILATION TRADE SECRET
            THAT INCLUDES A PLAN FOR DISCOVERING A COX-2-SELECTIVE DRUG
            THROUGH TH E USE OF DR. SIMMONS’S COX-1 AND COX-2 BIOLOGICAL
            MATERIALS AND INFORMATION.

            A.           BYU Has Presented Facts From Which A Jury Could Find That Dr.
                         Simmons Confidentially Shared An Identifiable, and Valuable, Compilation
                         of Trade Secrets With Monsanto.

            Under Utah’s version of the Uniform Trade Secret’s statute, a trade secret includes a

“compilation” or “program”—as well as a “method, technique, or process”—that “derives

independent economic value, actual or potential,” from being neither “generally known” nor

“readily ascertainable by proper means.”309 Pfizer argues that BYU hasn’t adequately identified

its compilation trade secret, so as to “separate it from the general skill and knowledge” at the



306
    Conaway v. Smith, 853 F.2d 789, 792 n.4 (10th Cir. 1988).
307
    Byers v. City of Albuquerque, 150 F.3d 1271, 1274 (10th Cir. 1998).
308
    Harvey Barnett, Inc. v. Shindler, 338 F.3d 1125, 1129 (10th Cir. 2003).
309
    U.C.A. § 13-24-2(4)(a).


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time, Pfizer Mem. at 6, but Pfizer simply ignores the salient facts. From the facts related above, a

jury could conclude at least the following:

            •            Over a period of years, Dr. Simmons’s diligent scientific research resulted in the
                         discovery of a new cyclooxygenase gene, COX-2, a discovery which Monsanto
                         itself called the “greatest breakthrough in the treatment of arthritis and pain.” SOF
                         ¶¶ 16, 12-21.

            •            In 1989, Dr. Simmons was the first to recognize that his discovery might make it
                         possible to “rationally design drugs that selectively inhibit one [COX] or the other
                         and thus reduce unwanted side effects.” SOF ¶ 22.

            •            Between 1989 and 1991, Dr. Simmons did further research to develop his plan
                         and created biological tools, including mouse clones of COX-1 and 2, to help
                         select, test, and modify COX-2 selective drugs. SOF ¶¶ 32-36.

            •            While looking for an industrial collaborator, Dr. Simmons took reasonable
                         precautions to ensure that his COX-related research was kept confidential. SOF ¶¶
                         37-43.

            •            Beginning in April 1991, Dr. Simmons begin sharing with Monsanto, on a
                         confidential basis, both his plan to select, test and modify NSAIDs, and the
                         related biological tools and information with which to accomplish this. At that
                         time, Monsanto was the only company in the world that had access to that body of
                         information and materials. SOF ¶¶ 44-47.

            •            Prior to Dr. Simmons’s meeting with Monsanto, and despite some hypotheses on
                         the matter, neither Monsanto nor any other company in the world knew there were
                         two cyclooxygenases, and the prevailing scientific wisdom was that there was
                         only a single cyclooxygenase. SOF ¶¶ 26-31.

            •            Prior to Dr. Simmons’s meeting with Monsanto, Monsanto was not looking for
                         another NSAID. Indeed, prior to April 1991, no pharmaceutical company in the
                         world had a plan to find, or was involved in efforts toward finding, a COX-2
                         selective drug. SOF ¶¶ 82-96.

            •            Between April 1991 and early 1992, Dr. Simmons continued to share more
                         biological materials and information with Monsanto. By March 1992, using Dr.
                         Simmons’s tools and information, Monsanto had found a COX-2 selective
                         compound that was potentially patentable. SOF ¶¶ 44-74.

            •            By mid-1992, Monsanto had formally changed its inflammation research program
                         and launched its own intensive COX-2 project, looking for a commercially-viable
                         COX-2 selective drug. SOF ¶¶ 97-116.




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            •            Because of its access to Dr. Simmons’s information and biological reagents,
                         Monsanto gained an insuperable lead over every other pharmaceutical company in
                         the development of a COX-2 selective NSAID, and Pfizer, as Monsanto’s
                         successor, is now essentially the only company marketing such a drug world-
                         wide. SOF ¶¶ 152-165.

            •            The Defendants have sold over $30 billion worth of Celebrex and other COX-2
                         inhibitors. SOF ¶ 166.

            Utah’s Supreme Court has held that, under the UTSA, whether a compilation of

information constitutes a trade secret is “an intensely factual inquiry” and is therefore a jury

question.310 Other courts agree.311 The above facts show, or at least would justify, a jury

concluding that all or some of BYU’s COX-2 information and materials constituted a

“compilation” or “program” that derived independent economic value from being neither

generally known nor readily ascertainable by proper means.

            B.           BYU Has Properly and Sufficiently Identified Its Compilation Trade Secret.

            BYU has also properly and sufficiently identified its compilation trade secret. As set forth

in the Statement of Facts above, BYU’s amended response to Pfizer’s interrogatory spelled out

in considerable detail BYU’s individual and compilation trade secrets, and Pfizer has not

previously complained about the adequacy of that description. BYU’s trade secret expert, Mr.

Fellmeth, has also provided a detailed explanation, as has BYU’s 30(b)(6) trade secret deponent,

Mr. Ricker. Furthermore—especially given the 70 individual trade secrets that are not contested

in this motion—there are adequate facts from which a jury could decide that BYU has a

protectable compilation trade secret in at least some combination of materials and information.




310
    USA Power, LLC v. PacifiCorp, 235 P.3d 749, 760, ¶ 45 (Utah 2010).
311
    Rivendell Forest Products, Ltd. v. Georgia-Pacific Corp., 28 F.3d 1042, 1045 (10th Cir.
1994) (“the authorities hold that what constitutes a trade secret and whether one exists, as
claimed, is an issue of fact,” “doubts as to existence of triable issues of fact … must be resolved
in favor of the existence of triable issues” … .).


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            Certainly, Dr. Simmons testified that the compilation trade secret included “the sum of

the technology, information, biological materials, assistance” that he gave Monsanto, but that

does not mean that BYU could—or would even try to—prove up every single interaction it had

with Monsanto. Nor is it necessary for BYU to do so. The question is simply this: has BYU

adduced adequate facts from which a jury could find that Pfizer misappropriated from BYU a

“compilation” or “program”—or a “method, technique, or process”—that “derive[d] independent

economic value, actual or potential,” from being neither “generally known” nor “readily

ascertainable by proper means.”312 If so, then summary judgment is not warranted. Paraphrasing

the federal district court in Uniram Technology v. Taiwan Semiconductor Mfr. Co., “[i]t is not

true” that BYU’s claim “will survive only if it disclosed to [Pfizer] the exact combinations that

make up its trade secrets.”313

            In other words, if the evidence warrants, the jury is free to find a compilation trade secret

that differs from the contours of that advocated by the plaintiff. For example, on the facts here,

the jury could find that Dr. Simmons’s mouse COX-1 and COX-2 clones, as the only pair of

COX clones within a single species that existed in the entire world, was itself a compilation trade

secret.

            In any event, here, the core of BYU’s disclosed compilation trade secret is

straightforward: Dr. Simmons discovered definitive evidence that there were two COX genes, he

developed a plan to “rationally design drugs that selectively inhibit one or the other and thus

reduce unwanted side effects,” and he developed a body of biological tools and information to

carry out that plan, a body that no one else in the world had at that time. Those tools included

biological reagents, such as COX-1 and COX-2 cDNAs and antibodies, as well as a system for



312
      U.C.A. § 13-24-2(4)(A).


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using these tools to test, or “assay,” compounds for their COX-2 selectivity. There are many

facts, or at least disputed facts, showing that BYU transmitted that core of information and

materials to Monsanto, and that Monsanto made us such in developing Celebrex. That’s all that

was needed.

            And even if it were true, as Pfizer alleges, that BYU’s compilation trade secret claim has

“morphed” over the duration of this litigation, on the facts here that claim would be immaterial.

In Basic American, Inc. v. Shatila, for example, Basic first identified 78 trade secrets it alleged

had been misappropriated, then “subsequently narrowed this list down” to 26, then later

stipulated to the dismissal of some claims, thus leaving only seven alleged trade secrets “relating

to the process for manufacturing” hash brown potatoes.314

            After a bench trial, the trial court ruled that the “substance of Basic’s claims, as

interpreted in light of the evidence produced at trial,” was really “a single claim” which

“consisted of introducing certain additives to potatoes which had been processed in a certain

way.”315 The court called this, the “Trade Secret,” and found that it “was a unique combination

of generally known elements which was not in the public domain,” and had been developed by

Basic “after considerable effort and expenditure….”316 The trial court further ruled that the

defendant had used Basic’s Trade Secret “as a starting point for developing” the defendant’s

process of making hash browns, and had thus misappropriated the Trade Secret.317

            On appeal, the Idaho Supreme Court affirmed, rejecting the defendant’s argument that the

evolution of the “Trade Secret” and the “district court’s formulation” of the Trade Secret made it



313
    617 f. Supp. 2d 938, 942 (N.D. Calif. 2007) (emphasis in original).
314
    992 P.2d 175, 181 (Idaho 199).
315
    Id., 992 P.2d at 183.
316
    992 P.2d at 181, 189.
317
    992 P.2d at 181-82.


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“overly broad and vague.”318 As the reviewing court explained, Basic had initially “defined its

trade secret claims in almost excessive detail”—producing a list of nearly eighty alleged trade

secrets, subsequently narrowed to seven—which the district court then “consolidated into a

single paragraph,” ruling that “when all of the elements were considered together, they

constituted a compilation trade secret.”319 And while “the trial court’s formulation [did] not

seem vague” to Idaho’s Supreme Court, “even if it were, Basic’s claim was still specific enough

to support a misappropriation action.”320

            Two of the elements that supported Basic’s Trade Secret were “that Basic spent almost

six years developing the Golden Grill product,” and that “Basic’s Golden Grill process was

unique to the industry,” both of which were “evidence that the process was not generally know

or readily ascertainable.”321 Similar facts support BYU’s trade secret claim here, where the

evidence shows that Dr. Simmons spent years discovering COX-2, developing his COX-1 and -2

clones and antibodies, and developing a system of assays for testing compounds for COX-2

selectivity. SOF ¶¶ 12-36.

            Courts have also rejected the argument that a plaintiff’s compilation trade secret claim

must be disclosed in a single document that “recites all of the features for a given combination




318
    992 P.2d 175, 186 (Idaho 1999); cf. SmithKline Beecham Pharmaceuticals Co. v. Merck &
Co., 766 A.2d 442, 447 (Del. 2000) (Finding that the trial court “did not err by allowing Merck
to refine the specifics of its claimed trade secret in light of the information it obtained from
SmithKline”).
319
    Id. (emphasis added).
320
    Id., 992 P.2d at 187 (emphasis added). In concluding that the plaintiff’s trade secret claim
was sufficiently particular, the court expressly distinguished Universal Analytic, Inc. v. Macneal-
Schwendler Corp., 707 F. Supp. 1170 (C.D. Cal. 1989), a case Pfizer relies on at p. 6 of its
Memorandum.
321
    992 P.2d at 735.


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secret.”322 In Uniram Technology, Inc. v. Taiwan Semiconductor Mfr’g, for example, the

defendant argued

                         that when an alleged trade secret consists of a combination of
                         nonsecret elements, plaintiffs have a claim only if they can prove
                         they disclosed to defendants the precise combination that
                         constitutes the secret.323

            The court disagreed, emphasizing that the defendant had “provide[d] no authority for this

proposition,” and finding that the cases the defendant relied on “were not relevant in determining

the level of legally required disclosure.”324 Rather, the court held, “[i]nsisting on a unified

description in a single integrated document” was “unnecessary,” because even if a plaintiff

disclosed only “elements” of trade secrets, and “not combinations,” a defendant might

nevertheless be found to have knowledge of the combination “if inferring such knowledge would

be reasonable under the circumstances.”325 As the court also said:

                         In short, a defendant’s knowledge of a secret combination will
                         depend on how easy or difficult it is to piece together. That is a
                         question of fact.326

            C.           None Of The Cases That Pfizer Relies On Are Pertinent To The Facts At
                         Issue Here.

            Although Pfizer cites a litany of cases purportedly supporting its argument that BYU has

failed to sufficiently identify its compilation trade secret, none of its cases are on point. Pfizer’s

cases deal with plaintiffs who have so fully failed to identify their individual trade secrets, that



322
     Uniram Technology, Inc. v. Taiwan Semiconductor Mfr’g Co., 617 F. Supp. 2d 938, 941
(N.D. Calif.)
323
    Id., 617 F. Supp. 2d at 942 (emphasis added).
324
    617 F. Supp. 2d at 942. Interestingly, two of the cases the court specifically found to be “not
relevant,” are also ones that Pfizer relies on: IDX Sys. Corp. v. Epic Sys. Corp., 285 F.3d 581
(7th Cir. 2002), Am. Airlines, Inc. v. KLM Royal Dutch Airlines, Inc., 114 F.3d 108 (8th Cir.
1997). Cf. 617 F. Supp. 2d at 942 with Pfizer Mem. at 10, 14.
325
    617 F. Supp. 2d 938, 943.
326
    617 F. Supp. 2d at 943.


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there is no way to prove the secrets were misappropriated. But for purposes of this motion the

Court must assume that BYU has properly identified its 70 individual trade secret claims, and

that BYU has facts sufficient to show the misappropriation of those individual claims.

            By contrast, in Utah Med. Prods., Inc. v. Clinical Innovations Assocs.,Inc., the plaintiffs

merely identified 17,000 pages of documents that defendant had taken, and claimed that “much”

of the information in those pages was trade secrets, without saying what the information was.327

And in Bradbury Co. v. Teissier-duCros, the court denied summary judgment as to some

individual trade secrets, but granted summary judgment on others that were not sufficiently

identified.328 Thus, the Bradbury court granted summary judgment on one trade secret claim that

involved an “unspecified new technology” for which plaintiff provided “no details.”329 In

Universal Analytics v. MacNeal-Schwendler Corp, the plaintiffs simply alleged that, because five

employees all left and went to another firm, and that firm thereafter announced improvements to

its products, there must have been a misappropriation of trade secrets.330 The court properly held

that to be an insufficient basis for a claim.331 BYU has adduced facts here, however, showing



327
    79 F. Supp. 2d 1290 at 1311, 1313 (“Simply identifying documents and claiming that they
contain trade secret information is not enough.”
328
    413 F. Supp. 2d 1209 (D. Kan. 2006).
329
    Id. at 1223.
330
    707 S. Supp. 1170, 1177 (C.D. Calif. 1989).
331
    At pp. 6-7 of its Memorandum, Pfizer cites three other cases that have nothing to do with the
proper identification of a compilation trade secret. In Composite Marine Propellers, Inc. v. Van
der Woude, 962 F.2d 1263 (7th Cir. 1992), the court merely found that, though plaintiffs’ eight
alleged trade secrets were properly identified, the “secrets” were not in fact secret, or there was
no evidence of misappropriation. In AMP Inc. v. Flesichhacker, 823 F.2d 1199 (7th Cir 1987),
the court held that merely listing pieces of information “by general item and category” was
insufficient. And in Loparex, LLC v. MPI Release Technologies, LLC, 2011 U.S. Dist. LEXIS
32371 (S.D. Ind. 2011), the court said only that conclusory trade secret descriptions such as, a
“capacity and methods to coat specific products for customers” was too vague. Nor does
Bancorp Service, LLC v. Hartford Life Ins. Co., 2002 U.S. Dist. LEXIS 26267 (E.D. Mo. 2002)
help Pfizer (the parties “described the documents that they contend contain trade secret
information,” but “they have not identified the information itself”).


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that Dr. Simmons transferred a variety of specific biological materials and information to

Monsanto, and that Monsanto used those materials and information in developing Celebrex.

SOF ¶¶ 44-74; 97-116.

            Toward the bottom of page 7 of its Memorandum, Pfizer cites Hill v. Best Med. Int’l,

Inc.—one of many unpublished cases it relies on—alleging that it stands for the principle that a

party must “specifically describe what particular combination of components it has in mind, how

these components are combined, and how they operate in unique combination.”332 But Hill did

not involve a party seeking summary judgment on a trade secret compilation claim. Hill was a

discovery dispute where the defendants sought a better answer to an interrogatory, and the

quoted language came from another discovery case, Struthers Scientific & Int’l Corp. v. Gen.

Foods Corp.333 These cases don’t pertain here; indeed, in response to an earlier discovery

motion by Pfizer, BYU did file an amended response to Pfizer’s trade secret interrogatory, and—

until this motion—Pfizer gave no indication that BYU’s amended interrogatory response was

insufficiently specific.334 And in any event, BYU has described how Dr. Simmons’s vision for

finding COX-2 selective drugs, combined with his COX-1 and COX-2 clones and antibodies,

gave Monsanto at least a one-year head start over other pharmaceutical companies. SOF ¶¶ 152-

166.

            Pfizer also relies on VFD Consulting, Inc. v. 21 Serv., another case whose facts bear not

the slightest similarity to those here.335 In that case, the court simply found that there was

“absolutely no evidence” (emphasis in original) that the “MedDiag” system was VFD’s trade

secret; indeed, VFD’s principal, Ms. Dolan, admitted that “she had no role in developing the



332
    2010 U.S. Dist. LEXIS 62726 (W.D. Penn. 2010).
333
    51 F.R.D. 149 (D. Del. 1970).
334
    Ex. 188.


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MedDiag computerized model,” and “never saw or operated the finished product.”336 And Ms.

Dolan also admitted that the materials VFD gave to the defendants were publicly available, and

did not show, “with any particularity,” how she “organized or combined the materials in a

manner that rises to the level of a legally protectable trade secret.”337 That’s nothing like here.

            Pfizer also cites the Seventh Circuit case of IDX Systems Corp. v. Epic Systems Corp.,

and an unreported case from the Texas, Astro Technology, Inc. v. Alliant Techsystems, Inc., but

like other cases Pfizer relies on, these are tied to specific facts that are nothing like those here.338

In IDX Systems, the plaintiff claimed that an entire software package it had provided contained

protectable trade secrets, and offered a 43-page description of the “various features making up”

the software package, but did not “separate the trade secrets from the other information that goes

into any software package.”339 Thus, “many of the items” in the 43-page description were “things

that any user or passer-by sees at a glance,” and were “readily ascertainable by proper means.”340

In contrast, this case involves not conventional software, but Dr. Simmons’s discovery of a new

cyclooxygenase gene and protein, and his providing Monsanto with a package of information

and materials relating to such that no other company in the world had.




335
    525 F. Supp. 2d 1037 (N.D. Calif. 2006).
336
    Id. at 1049.
337
     Id. Nor does Jostens, Inc. v. Nat’l Computer Sys, Inc., 318 N.W.2d 691 (Minn., 1982)
advance Pfizer’s argument. In Jostens, the court merely held that a trial court’s post-trial
findings of fact had “support in the evidence,” and affirmed judgment for defendants. Among
other things, the trial court found that an alleged software trade secret (CAD/CAM) “did not
require substantial research or experimentation,” and came about through the “application of
[defendant’s] general skill and knowledge to the integration of commonly available components
… .” 318 N.W.2d at 699. The court also held that an alleged “combination of otherwise known
data” required more than just an assertion of such; the “combination itself must be delineated …
.” Id.
338
    285 F.3d 581 (7th Cir. 2002); 2005 U.S. Dist. LEXIS 46248 (S.D. Tex. 2005).
339
    285 F.3d at 583-84.
340
    285 F.3d at 584.


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            Astro Technology is even less relevant. To begin with, the court there found it

“uncontroverted” that the plaintiff had “authorized Defendants to use [plaintiff’s] proprietary

information….”341 Moreover, the only thing the plaintiff ever transferred to the defendants was

“the concept of using fiber optics to obtain data from inside solid rocket motors,” along with

identifying “several problems which need to be resolved” to develop the concept,” and

“suggestions” on “potential ways” to address the problems.342 And unlike here, the plaintiff

himself had never actually tried or even tested the concept, and had “not presented evidence that

the alleged trade secret gave Plaintiff any advantage over its competitors.”343

            D.           Applicable Cases Dealing With Compilation Trade Secrets Support BYU’s
                         Compilation Trade Secret Here.

            The cases that Pfizer’s Memorandum tried to distinguish—as well as significant cases

that Pfizer failed to cite at all—both support BYU’s compilation trade secret here.

                         1.           Cases That Pfizer’s Memorandum Tries To Distinguish.

            At page 11 of its Memorandum, Pfizer tries in vain to distinguish three cases where the

courts sustained compilation trade secret claims. In USA Power, LLC v. PacifiCorp, for example,

Utah’s Supreme Court reversed a trial court ruling in which the trial court held that the “concept,

vision and claimed confidential information” the plaintiff gave defendant “were of public

record.”344 The court found that a “unique combination of generally known elements or steps

can qualify as a trade secret,” so long as the combination came from the “independent efforts” of

the plaintiff, and the “compilation of information” itself was not “generally known or readily




341
    Astro Technology, 2005 U.S. Dist. LEXIS 46248 at 48.
342
    Id. at 45 (emphasis added).
343
    Id., 2005 U.S. Dist. LEXIS 46248 at 45-46.
344
    235 P.3d 749, 758-58, ¶ 40 (Utah 2010).


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ascertainable.”345 The court held that USA Power’s “vision” of the “viability of a power plant in

Mona,” Utah, in combination with three binders of information regarding the potential power

plant constituted sufficient information to form a “compilation” trade secret —even though most

of that information could be separately found in the public domain.346

            Of course the facts here are much stronger than in USA Power, because here Dr.

Simmons not only had a “vision” of how a COX-2 selective drug might be found, but his vision

came from the discovery of a previously-unknown gene, COX-2, along with the development of

a package of biological materials that no one else at the time had.

            At page 11 of its Memorandum, Pfizer also brushes off Mike’s Train House, Inc. v.

Lionel, LLC,347 because there Pfizer says the plaintiff provided “specific technical design

drawings and manuals,” thus erroneously suggesting that Dr. Simmons provided no specific

materials to Monsanto—even though it is undisputed that Dr. Simmons did so. Moreover, a key

holding in Mike’s Train House is that, when a compilation of information and materials is

provided to a defendant, some of which is secret and some non-secret, a plaintiff “should not be

obligated to identify which components of the protected material is secret.”348

            Pfizer also dismisses 3M v. Pribyl, 259 F.3d 587 (7 Cir. 2001),349 because there, Pfizer

says at page 11 of its Memorandum, “the plaintiff had provided operating plans and procedures

for the manufacture of a particular product line.” That statement, of course, is not a material

distinction at all, since Dr. Simmons not only provided Monsanto with “plans and procedures,”

but also with biological materials to help effectuate such. Moreover, as the 3M court explained:



345
    235 P.2d at 759, ¶¶ 43-44.
346
    235 P.3d at 752-53, ¶ 8; 760, ¶¶ 45-46.
347
    472 F.3d 398 (6th Cir. 2006).
348
    472 F.3d at 411.
349
    259 F.3d 587 (7th Cir. 2001).


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                         A trade secret can exist in a combination of characteristics and
                         components, each of which, by itself is in the public domain, but
                         the unified process, design and operation of which, in unique
                         combination, affords a competitive advantage and is a protectable
                         secret.350

            In 3M, the jury found a trade secret in 3M’s “operating procedures, quality manuals,

training manuals, process standards, and operator notes for using plaintiff’s equipment…”351

The defendants argued, among other things, that 3M could not identify “what specific

information contained within the more than 500 hundred pages of materials” could be considered

“secret.”352 The defendants thus suggested that “if 3M cannot point to specific items within its

manuals that are not known by the industry, then 3M cannot claim a trade secret in the combined

product,” but the Seventh Circuit rejected the argument.353 The court explained that, to be

considered a trade secret, a “pattern, technique, or process need not reach the level of invention

necessary to warrant patent protection;” rather, a “trade secret can exist in a combination of

characteristics and components” which, “in unique combination, affords a competitive

advantage…”354

            Finally, in Lyn-Flex West, Inc. v. Dieckhaus,24 S.W.3d 693 (Mo. App. 1999), the

Missouri Court of Appeals reversed a trial court’s directed verdict of a compilation trade secret

comprised of a “price book” that contained “a detailed compilation of technical and non-

technical data” that represented “many years’ experience in the business” that “could not be

easily duplicated or properly acquired by others.”355 Here, BYU has introduced facts, or at least

evidence of disputed facts, showing that its compilation trade secret included “technical data,”



350
    259 F.3d at 595-96.
351
    259 F.3d at 593.
352
    259 F.3d at 595.
353
    Id.
354
    Id., 259 F.3d at 595-96.


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along with biological materials, that represented “many years” of research, and “could not be

easily duplicated or properly acquired by others.” See, e.g. SOF ¶¶ 12-18, 32-36, 44-47..

                         2.           Pertinent cases that Pfizer’s Memorandum failed to mention.

            While Pfizer’s Memorandum cites numerous trade secret cases—including at least seven

unreported cases—it fails to mention the Tenth’s Circuit’s decision in Rivendell Forest Products,

LTD. V. Georgia-Pacific Corp.356 In that case, the trial court granted summary judgment against

plaintiff Rivendell’s claim that its computer software system was a compilation trade secret that

Georgia-Pacific (“GP”) misappropriated. The Tenth Circuit reversed, finding issues of fact under

Colorado’s trade secret statute.

            Rivendell involved a computer software system that took plaintiff Rivendell years to

build, and which allegedly enabled Rivendell “to provide its customers with special service, and

to manage its distribution centers as no competitor could do.”357 The defendant Cornwell knew

the system well, since he learned it while working for Rivendell. Eventually GP hired Cornwell

to develop a software system that would help GP manage the consolidation of its 100 distribution

centers.358 GP’s software system was “very soon developed,” and “it was for all practical

purposes the same as the one at Rivendell.”359

            The Tenth Circuit first noted that “the authorities hold that what constitutes a trade secret

and whether one exists, as claimed, is an issue of fact.”360 The court then criticized the trial court

requirement that the “software system be examined bit by bit,” with the further requirement that

“Rivendell demonstrate protectability of its elements or some of them rather than the



355
    24 S.W. 3d 693-699 (Mo. App. 1999)
356
    28 F.3d 1042 (10th Cir. 1994).
357
    28 F.3d 1042, 1043 (10th Cir. 1994).
358
    Id., 28 F.3d at 1044.
359
    Id. (emphasis in original).


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protectability of the software system as a whole.”361 According to the trial court, without a

showing that Rivendell and GP’s software systems “were similar in some protectable particular,

there is no such clarity in Rivendell’s claim.”362 The Tenth Circuit disagreed, stating:

                         The authorities recognize that a trade secret such as the one here
                         claimed can consist of a combination of elements which are in the
                         public domain.363

            The Tenth Circuit also explained that:

                         A determination as to the existence of a trade secret as a fact issue
                         requires doubts as to existence of triable issues of fact which must
                         be resolved in favor of the existence of triable issues.364

The court then observed that Rivendell had presented “facts in affidavits and deposition,” and

that such facts were not “arguments.”365

            Finally, the Tenth Circuit found that: 1) a “methodology implementing the combination

of concepts and ideas” had been shown; 2) that Rivendell’s software was “a total package for

immediate use,” which, due to “the integration of the many computations as to size of lumber”

and other factors, permitted “the immediate quotation of a total price,” 3) that Rivendell’s system

was the “only system in the industry which could accomplish this”; and 4) that GP “had nothing

comparable before the Defendant Cornwell was hired away from Rivendell.”366

            These findings are reminiscent of the facts BYU presents here, in that Dr. Simmons

provided Monsanto a “total package” of concepts and materials for its “immediate use,” a

package which not only gave Monsanto the knowledge of a second COX gene, but gave



360
    Id., 28 F.3d at 1045.
361
    Id., 28 F.3d at 1045 (emphasis added).
362
    28 F.3d at 1045.
363
    Id.
364
    Id.
365
    Id.
366
    Id., 28 F.3d at 1045-46.


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Monsanto access to the only pair of mouse COX-1 and COX-2 clones in the world, along with

COX antibodies and other materials and information that permitted the use of a two-cell assay

system, which at the time was the “only system in the industry that could accomplish this.”367

            Nor does Pfizer cite Harvey Barnett,Inc. v. Shidler, another case in which the Tenth

Circuit reversed a trial court’s summary judgment order dismissing a trade secret claim.368 That

case involved Harvey Barnett’s “Infant Swimming Research program,” or “ISR,” a method of

teaching infants to swim (known as the “swim, float, swim” method), which involved numerous

“prompts and procedures” for teaching infants how to survive in the water. The ISR program

included safety protocols and a “BUDS” Record Sheet allowing parents to monitor their

children’s physical responses to the ISR program.369 Barnett had written various books detailing

some of the techniques and methods he used in in the ISR program.370

            The defendants had previously worked for ISR, then started their own program that was

allegedly similar to the ISR program, utilizing the same “swim, float, swim” method, and some

(but apparently not all) of the same safety protocols, including a Daily Health Data Sheet similar

to the BUDS sheet.371 The district court, applying Colorado’s version of UTSA, granted

summary judgment for the defendants, finding that “variations of the swim, float, swim method”

were publicly known, that ISR had not taken precautions to guard the secrecy of its information

until “hundreds of instructors had been trained and thousands of students taught,” and that a



367
     Cf. Tan Line Studios, Inc. v. Bradley, 1986 U.S. Dist. LEXIS 27754, *21, 1 U.S.P.Q.2d
(BNA) 2031 (E.D. Penn. 1986) (“I find, however, that Tan-Line entire methodology for
conducting a tanning studio constitutes a trade secret.”); Uncle B’s Bakery, Inc. v. O’Rourke, 920
F. Supp. 1405 (N.D. Iowa 1996) (“the court concludes that the entirety of Uncle B’s Bakery’s
manufacturing process, from ingredients through bagging, is sufficiently unique to constitute a
trade secret under Iowa law”).
368
    338 F.3d 1125 (10th Cir. 2003).
369
    Id., 338 F.3d at 1127.
370
    Id.


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variation on ISR’s methods could be created through a perusal of commercially available books

and materials.372 In reversing, the Tenth Circuit concluded that the district court “improperly

looked at components of the ISR program in isolation, rather than as a whole in determining

that ISR does not possess a trade secret.”373 As the court explained:

                         In failing to follow our holding in Rivendell—that a trade secret
                         can exist in a combination of characteristics, each of which,
                         considered separately, is in the public domain, but, taken
                         together, may yield a competitive advantage that results in a
                         protectable trade secret—the district court applied an inappropriate
                         standard.374

The Tenth Circuit also emphasized that its “requirement of analysis in the aggregate is more

than a formality,” but is rather a “substantive component of trade-secret analysis integral to a

court’s ultimate conclusion regarding the existence of material facts for trial.”375

            In its review, the Tenth Circuit found “numerous genuine issues of material fact

precluding summary judgment.”376 Evidence showing such facts came in the form of testimony

and affidavits “attesting to the uniqueness of the ISR program.”377 Here, too, BYU has produced

evidence of the uniqueness of the package of information and materials Dr. Simmons gave

Monsanto. As BYU’s expert, Dr. Bell, opined, the “set of concepts and reagents given Monsanto

by Simmons in 1991 “constituted a unified plan, supporting data, and unique reagents,” that

“gave a large advantage to Monsanto over its industrial competitors. No other company had




371
    338 F.3d at 1128.
372
    338 F.3d at 1129.
373
    338 F.3d at 1130 (emphasis added).
374
    Id. (emphasis added).
375
    338 F.3d at 1130.
376
    Id.
377
    338 F.3d at 1130-31.


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this set in 1991, and only Merck had much of it by mid-1993.”378 BYU expert Dr. Dellaria

offered a similar opinion:

                         At that time [in April 1991] no other research group, either
                         academic or industrial, had access to the unique combination of Dr.
                         Simmons clones, antibodies, research data, expert advice and
                         project.379

            Indeed, even Pfizer witnesses admitted the uniqueness of Dr. Simmons’s materials and

information. Pfizer expert Dr. Mancini, for example, testified that he was not aware of any

pharmaceutical companies by 1991 that were involved in efforts to find a COX-2 selective drug,

other than Monsanto after its association with Dr. Simmons.380 And Monsanto’s Dr. Seibert

admitted that, as of 29 April 1991, she did not know “anybody else in the world who had paired

cDNA clones of COX-1 and COX-2, other than Dr. Simmons,” and did not know of anybody in

the world who had COX-2 antibodies, other Dr. Simmons.381

            Courts have in fact found protectable compilation trade secrets in a wide variety of cases.

In Merck & Co. v. Smithkline Beecham Pharmaceuticals Co., for example, the Delaware Court

of Chancery found a combination trade secret in the process of developing a viral vaccine, even

though the underlying theoretical concepts were public knowledge.382                   As here, that case

involved some scientific complexities; the litigants submitted post-trial briefs of “over 900

pages,” almost half of which were the defendants’ proposed findings of fact and conclusions of

law.383 In finding that Merck’s vaccine production process was a protectable trade secret, the

court noted that the “combination of steps into a process is a trade secret, even if all the



378
    SOF ¶ 47.
379
    Expert Report of J. Dellaria, 18 Feb 11, at p. 4, ¶ 5.
380
    J. Mancini Dep., 7 Nov 11, at 56:8-57:1.
381
    K. Seibert Dep., 1-3 Jun 10, at 359:23-360:14.
382
    1999 Del. Ch. LEXIS 242 (Del. Ch. 1999), affirmed, 766 A.2d 442 (Del. 2000).
383
    Id. at 24.


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component steps are known, so long as it is a unique process which is not known in the

industry,” and that trade secret protection extends to the practical problem-solving that enables

commercial application of theoretical concepts.”384

            The court also emphasized that “[t]he mere fact that aspects of a trade secret process can

be found in publications does not mean that the process is not a trade secret,” hence:

                         courts have rejected the argument that one who has learned
                         particular information from a trade secret process is not liable if it
                         can show that the information learned is somewhere
                         “published.”385

Although materials may be “publicly available,” that does not mean that they are “obvious,”

because such materials may not be

                         accompanied by instructions explaining were they were useful and
                         where they were not, or what particular elements they described
                         were relevant and helpful and which were not, or indeed why they
                         should be selected over some other publicly available
                         information.386

Hence, when a defendant has “gained valuable information from access to a trade secret,” courts

don’t allow that defendant “to evade misappropriation on the basis that particular information

learned from its access could be found in a publication.”387

III.        BYU TOOK ADEQUATE MEASURES TO PROTECT ITS COMPILIATION
            TRADE SECRET.

            Pfizer advances only a single fact in support of its argument that BYU didn’t demonstrate

reasonable efforts to maintain the secrecy of its compilation trade secret: that Dr. Simmons



384
    Id. at 52-53 (internal quotations and citations omitted).
385
    1999 Del. Ch. LEXIS 242, at 54-55.
386
    Id., quoting Monovis, Inc. v. Aquino, 906 F. Supp. 1205 f1228 (W.D.N.Y. 1994).
387
    1999 Del. Ch. LEXIS 242 at 59-60; accord AvidAir Helicopter Supply, Inc. v. Rolls-Royce
Corp., 2011 U.S. App. LEXIS 24620 (8th Cir2011) (noting that it is “no defense” to claim that
one’s product “could have been” developed independently, if in fact it was developed using
plaintiff’s materials) (emphasis added and internal quotation marks and citation omitted).


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purportedly “admitted under oath” that his compilation trade secret was “finally communicated

to Monsanto in July 1992, and perhaps even later.”388 Pfizer then argues that, since the Research

agreement had already been terminated by July 1992, the sharing of confidential information

after that date “evidences a lack of reasonable steps to maintain its secrecy.” Pfizer Mem. at 13.

            The argument is wholly specious. Assuming that Dr. Simmons did communicate

confidential information to Monsanto after the Research Agreement had been terminated, even if

it might be argued that that particular piece of information was not then protected, it hardly

means that the disclosure forfeited trade secret protection for all possible combinations of

information and materials that might constitute a compilation trade secret. And notably, Pfizer

cites no case law for such an absurd result.389

            As discussed earlier, to support BYU’s compilation trade secret claim, BYU is not

required to, and does not intend to, try and prove up every single interaction it had with

Monsanto. There is ample evidence from which a jury could find a compilation trade secret

claim based information and materials provided Monsanto between April 1991 and March of

1992. In fact, as mentioned above, a jury could find a compilation trade secret claim based just

on the unique combination of materials and information that Dr. Simmons provided Monsanto in

April of 1991.




388
    What Dr. Simmons testified was that, at a scientific conference in Montreal in 1992, he
advised Dr. Needleman that his research showed that Diclofenac was a selective COX-2
inhibitor. D. Simmons Dep. at 101:22-102:15.
389
    In any event, it is by no means clear that the Research Agreement was terminated in July of
1992. Although BYU had agreed to the termination by that date, Pfizer had paid BYU for the
first year of the agreement, which ended 31 July 1992, and prior to that date, Pfizer never
confirmed the termination of the agreement; cf. Smithkline Beecham Pharmaceuticals v. Merck
& Co., 766 A.2d 442, 448 (Del. 2000) (“Whether the trade secrets were generally known or
readily ascertainable and whether Merck took reasonable precautions to protect their secrecy is a
question of fact.”)


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IV.         BYU HAS ADVANCED SIGNIFICANT EVIDENCE THAT MONSANTO
            MISAPPRORIATED ITS COMPILATION TRADE SECRET.

            A.           Significant Evidence Shows                        Pfizer’s   Misappropriation   Of   BYU’s
                         Compilation Trade Secrets.

            Relying on a misinterpretation of an unpublished decision—later vacated—Pfizer argues

that BYU can’t show that Monsanto misappropriated BYU’s “project” and “compilation” trade

secrets, because “BYU cannot show that Pfizer used each of the elements of these broadly

defined combinations.” Pfizer Mem. at 14 (emphasis added). But the law does not require such.

Rather, the misappropriation of a compilation trade secret may be shown by circumstantial

evidence, including evidence that a company changed its focus or procedures after acquiring the

trade secrets in question, or evidence that the misappropriated trade secrets gave the defendant a

“head start” on other companies pursuing similar goals. Plenty of evidence shows that here.

            Pfizer relies on an unpublished decision in Fast Food Gourmet, Inc. v. Little Lady Food,

Inc. to argue that a party “cannot demonstrate misappropriation simply by showing that the

defendant used only part of the combination comprising the secret,” because, the “absence of

any of these particular components would fail to produce the kind of pizza that is the end

result of its trade secret.”390 Leaving aside that this decision was later vacated, Pfizer has

misrepresented it.

            The cited decision was in fact merely a magistrate’s discovery ruling denying the

plaintiff’s untimely motion to compel answers to interrogatories. The plaintiff there, FFGI,

claimed that the defendants, LLFI and Kraft Foods Global, had usurped its trade secret for

baking a thin crust, frozen pizza in a stone hearth oven. As the magistrate judge interpreted it,



390
   2007 U.S. Dist. LEXIS 41651, at *18 (N.D. Ill. June 8, 2007) (emphasis added), vacated,
2997 U.S. Dist. LEXIS 90820 (N.D. Ill. Dec. 11, 2007) (vacating prior Mem. Opin. and Order
because of a conflict of interest).


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FFGI’s trade secret claim required the presence of “four core components” to produce the proper

pizza, and (in the sentence quoted in Pfizer’s Memorandum), said that, on those facts, the

“absence of any of these particular components would fail to produce the kind of pizza that is the

end result of its trade secret.” Since FFGI was seeking untimely discovery solely on other

companies’ use of one element (the oven), and not the other elements, it would not be relevant.

            But that logic doesn’t apply to BYU, because BYU has never claimed that the only way a

company could produce a COX-2 selective drug was by use of Dr. Simmons’s confidential trade

secrets, only that his trade secrets gave Monsanto a head start in 1991, when Monsanto was the

only company to access to his package of information and materials.391

            Nor does the case law support Pfizer’s absurd argument that, to prove misappropriation

of a compilation trade secret, BYU must prove that Monsanto used “all elements” of BYU’s

trade secrets, including “the dozens of items” referenced in expert reports and testimony. Pfizer

Mem. at 15.392 Indeed, the very cases that Pfizer tries to distinguish suffice to deny summary

judgment here. In 3M v. Pribyl, for example, the court did not require 3M to state “what specific

information contained within the 500 pages of materials could be considered secret,” because

3M’s real trade secret was the “unified process, design and operation, which, in unique

combination” gave 3M a competitive advantage. Thus, even though “the 500-plus pages” of



391
    Pfizer also failed to tell the Court the eventual outcome of the case, as set forth in a reported
decision at 542 F. Supp. 2d 849 (N.D. Ill. 2008). The defendants, FFGI and Kraft, eventually
moved for summary judgment, arguing that the alleged trade secrets were not secret and that
FFGI could not demonstrate misappropriation. The trial court denied summary judgment,
relying in part on opinions offered by the plaintiff’s expert, Hoseney, that FFGI’s “whole
process” was “unique,” and that he “had not heard of anyone using a stone impingement oven to
manufacture frozen pizzas.” 542 F. Supp. 2d at 861.
392
    American Airlines v. KLM Royal Dutch Airlines, 114 F.3d 108 (8th Cir. 1997) certainly does
support such a proposition. That case turned on the “sham affidavit” doctrine, which bars a party
from trying to manufacture a disputed fact by submitting an affidavit contradicting prior
deposition testimony.


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manuals included many materials in the public domain, when they were “collected and set out as

a unified process,” that “compilation” could be considered a trade secret.393 And 3M presented

“evidence to support a powerful inference that defendants used 3M’s operating procedures and

manuals, because there were “significant similarities” between their operations, and because

“defendants gained a significant head start in their operation by using the trade secret

knowledge…394 Notably, the 3M court did not require proof that defendants had used “all

elements” of 3M’s compilation trade secret.

            In USA Power v. PacifiCorp, the Tenth Circuit stated:

                         Accordingly, we hold that a jury can infer misappropriation under
                         the Utah Trade Secrets Act if presented with circumstantial
                         evidence that shows access to information similar to the trade
                         secret at issue.395

The court went on to find that, because USA Power showed that the defendant “had access to its

alleged trade secrets in the three binders,” and that the defendants’ Currant Creek project was

“substantially similar to” USA Power’s Spring Canyon project, a jury based on just those facts

“could reasonably infer that PacifiCorp misappropriated USA Power’s alleged trade secret when

it built Currant Creek.”396 It is again notable that the court required no proof that the defendant

had used every piece of information in the three binders.

            Here, it is undisputed that Monsanto had access to BYU’s compilation trade secrets. And

BYU has produced a great deal of evidence that the methods and reagents Monsanto used in

developing Celebrex were in fact BYU’s, or at least very similar to BYU’s, and that those gave




393
    259 F.3d at 596.
394
    Id.
395
    235 P.3d 749, 761, ¶ 50 (emphasis added).
396
    Id. at 6512-652.


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Monsanto a significant head start over every other pharmaceutical company. SOF ¶¶ 82-166. At

a minimum, such facts suffice to raise genuine issues of fact on misappropriation.

            B.           Pfizer Does Not Have A License To Use BYU’s Compilation Trade Secrets.

            Pfizer also argues that, under ¶ 3.2 of the Research Agreement, it has a free license to use

all of BYU’s compilation trade secrets because 1) they were not patented; and 2) they were

“developed in the Project” because they were not “complete” until after the effective date of the

Research Agreement. But this claim patently contradicts Pfizer’s prior position that all of the key

information BYU shared with Monsanto was developed and shared prior to the effective date of

the Research Agreement, and hence could not have been “developed in the project” or “obtained

from the project.”397 The Court should reject the argument on that ground alone.

            In any event—even disregarding the two-faced nature of this argument—it wrongly

assumes that BYU’s compilation trade secret is an “all or nothing” matter: per Pfizer, BYU must

either prove that Pfizer misappropriated every single element of BYU’s compilation trade secret

(which in its broadest form, includes every individual trade secret), or the jury can’t return a

verdict based on a compilation trade secret. As described above, though, that is assuredly not the

law. The jury could easily find a compilation trade secret in the materials and information that

BYU gave Monsanto prior to the 1 August 1991 effective date of the Research Agreement.

            Moreover, contrary to Pfizer, paragraph 3.2 of the Research Agreement did not give

Monsanto a free license to use BYU’s confidential trade secrets. Indeed, such a claim is squarely

at odds with paragraph 4.1 of the Research Agreement, which, “except as provided for” in the

agreement, expressly bars Monsanto from using BYU’s “Confidential Information.” Under




397
      See, e.g., Mem. Dec. and Order, 4 Oct 11 (filed under seal), Ex. 7, at pp. 21-22.


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Pfizer’s reasoning, the court could simply disregard Research Agreement ¶ 4.1, because ¶ 3.2

would give Monsanto a license to use all of BYU’s confidential materials and information.

            But Research Agreement paragraph 3.2 deals only with “unpatented inventions” that

were “developed in the project,” and plainly an “invention” is not the same as “Confidential

Information.” Furthermore, as argued in response to Pfizer’s motion for summary judgment No.

11, if BYU had given Pfizer materials and information that were in fact patentable, Pfizer had a

duty under Research Agreement ¶ 3.3 to advise BYU of such fact, so that a patent could be

obtained.

                                                                    CONCLUSION

            For all the reasons advanced above, the Court should deny Pfizer’s motion for summary

judgment No. 6, and hold that genuine issues of fact prevent summary judgment on BYU’s

compilation trade secrets claim.

            RESPECTFULLY SUBMITTED this 22 day of December 2011.

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                                                      CERTIFICATE OF SERVICE

            I hereby certify that on the 22 day of December, 2011, I electronically filed the foregoing

Response In Opposition To Defendants’ Motion For Partial Summary Judgment On Plaintiffs’

Claim That Defendants Have Misappropriated “Project” And “Compilation” Trade Secrets with

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